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                        IN THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

    In re:                                                            Chapter 11

    Premier Exhibitions, Inc., et al.,1                               Case No. 3:16-bk-02232-PMG

                                                                      Jointly Administered
                              Debtors.


                      PLAN OF LIQUIDATION OF THE DEBTORS UNDER
                         CHAPTER 11 OF THE BANKRUPTCY CODE


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    Dated: May 15, 2019
           Jacksonville, Florida




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
include: Premier Exhibitions, Inc. (4922); Premier Exhibition Management LLC (3101); Arts and Exhibitions
International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246);
Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is c/o
Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308.



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           PLAN OF LIQUIDATION OF THE DEBTORS UNDER
              CHAPTER 11 OF THE BANKRUPTCY CODE

                                       INTRODUCTION
        Premier Exhibitions, Inc., Premier Merchandising, LLC, Premier Exhibition Management
LLC, Arts and Exhibitions International, LLC, Premier Exhibitions NYC, Inc., Premier
Exhibitions International, LLC, and Dinosaurs Unearthed Corp., the above-captioned debtors and
debtors in possession, propose the following Plan under section 1121(a) of the Bankruptcy Code.
Reference is made to the Disclosure Statement for a discussion of the Debtors' history, as well as
a summary and analysis of this Plan and other related matters, including distributions to be made
under this Plan. The Debtors are the proponents of this Plan within the meaning of section 1129
of the Bankruptcy Code.
        The Debtors’ Chapter 11 Cases are being jointly administered pursuant to an order of the
Court, and this Plan is being presented as a joint plan of the Debtors. Claims against, and Equity
Interests in, the Debtors (other than Administrative Claims, Professional Compensation Claims
and Priority Tax Claims) are classified in Article 4.
        Only Holders of certain Unsecured Claims, as specified in Article 5, are entitled to vote
on this Plan.
ALL CREDITORS ENTITLED TO VOTE ON THIS PLAN ARE ENCOURAGED TO
READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY AND
CONSULT WITH COUNSEL AND OTHER APPLICABLE PROFESSIONALS BEFORE
VOTING TO ACCEPT OR REJECT THIS PLAN. WITHOUT LIMITING THE
FOREGOING, ALL HOLDERS OF CLAIMS OR EQUITY INTERESTS ARE URGED TO
CAREFULLY READ THE RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS SET FORTH IN ARTICLE 10 BECAUSE SUCH PROVISIONS AFFECT
NOT ONLY SUCH HOLDERS' RIGHTS AND CLAIMS AGAINST THE DEBTORS, BUT
ALSO SUCH HOLDERS' RIGHTS AND CLAIMS AGAINST CERTAIN NON-DEBTOR
PERSONS IDENTIFIED IN SUCH ARTICLE. SUBJECT TO CERTAIN RESTRICTIONS
AND REQUIREMENTS SET FORTH IN SECTION 1127 OF THE BANKRUPTCY CODE
AND BANKRUPTCY RULE 3019, THE DEBTORS RESERVE THE RIGHT TO ALTER,
AMEND, MODIFY, REVOKE, OR WITHDRAW THIS PLAN PRIOR TO ITS
SUBSTANTIAL CONSUMMATION.




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                                             ARTICLE 1

           DEFINITIONS, RULES OF INTERPRETATION, AND CONSTRUCTION

        1.1      Defined Terms. For the purpose of this Plan, the following terms set forth in this
Article I shall have the respective meanings set forth below.

       “Administrative and Priority Claims Reserve” means the reserve established in
accordance with § 7.4.3 of this Plan for the payment of certain Allowed Administrative
Expense Claims, Allowed Priority Tax Claims, and Allowed Priority Claims, which reserve
may be augmented by the Liquidating Trustee as set forth in this Plan and the Liquidating Trust
Agreement.

       “Administrative Expense” means any cost or expense of administration of the Estates or
the Cases that is allowable under Section 503(b) of the Bankruptcy Code, including, but not limited
to, —

           (1) Professional Compensation Claims; and

           (2) any actual and necessary cost or expense of preserving the Estates or operating the
               business of the Debtors (including wages, salaries, or commissions for services
               rendered) incurred on or after the Petition Date; and

        “Administrative Expense Claim” means any Claim for the payment of an Administrative
Expense. The terms “Administrative Expense(s)” and “Administrative Expense Claim(s)” may be
used interchangeably in this Plan.

        “Administrative Expense Claim Bar Date” means the last day for filing an application
or other Bankruptcy Court-approved pleading for allowance and/or payment of an Administrative
Expense Claim other than Professional Compensation Claims, which deadline is governed by the
Professional Claims Bar Date. The Administrative Expense Claim Bar Date will be thirty (30)
days after the Effective Date.

       “Administrative Expense Claim Objection Deadline” means no later than thirty
(30) days after the Administrative Expense Claim Bar Date.

       “Admiralty Order” means that certain Order entered on December 21, 2018, by the
United States District Court for the Eastern District of Virginia in the admiralty action styled
R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, Case No. 2:93-cv-902.

        “Adversary Proceeding” means the adversary proceeding entitled MARK C. HEALY of
Michael Moecker & Associates, Inc., in his capacity as Court-Appointed Responsible Person v.
MARK A. SELLERS, et al., Adversary Proceeding Case No. 3:18-ap-00064-PMG (formerly
captioned as Official Committee of Equity Security Holders of Premier Exhibitions, Inc. v. MARK
A. SELLERS, et al.) currently pending in the Bankruptcy Court.




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           “Affiliate” has the meaning ascribed to such term in Section 101(2) of the Bankruptcy
Code.

        “Allowed Claim” means, with respect to a Claim, that portion of a Claim against one or
more of the Debtors that is not a Disputed Claim or a Disallowed Claim and (a) as to which a Proof
of Claim was filed with the Clerk’s Office or other designated filing method on or before the Bar
Date, or, by order of the Bankruptcy Court, was not required to be filed, or (b) as to which no Proof
of Claim was filed with the Clerk’s Office on or before the Bar Date, but which has been or
hereafter is listed by the Debtors in the Schedules as liquidated in amount and not disputed or
contingent, and, in the case of subparagraph (a) or (b) above, as to which either (x) no objection to
the allowance thereof has been filed within the time allowed for the making of objections as fixed
by this Plan, the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court, or (y) any
objection made has been determined and the Claim has been allowed by a Final Order (but only to
the extent so allowed). “Allowed Claim” will also include a Claim that is allowed by the
Bankruptcy Court (a) in any contract, instrument, or other agreement or document entered into in
connection with this Plan; (b) in a Final Order; or (c) pursuant to the terms of this Plan. “Allowed,”
when used as an adjective herein (such as Allowed Administrative Expense Claim, Allowed
Priority Tax Claim, Allowed Priority Claim, and Allowed Unsecured Claim) has a corresponding
meaning. Notwithstanding any other provision of this Plan, the term Allowed Claim shall not
include any Claim held by a Creditor against which the Debtors have asserted a Cause of Action
that has the effect of precluding a Distribution with respect to such Claim. An Allowed Claim shall
not include any penalty or interest accrued after the Petition Date unless otherwise allowable under
the Bankruptcy Code and any other applicable law. To the extent that the Holder of an Allowed
Claim receives any payment on such Claim from a source other than the Liquidating Trust
established under this Plan, the amount of such Allowed Claim shall be reduced by the amount of
such payment.

       “Allowed Class ... Claim” means an Allowed Claim in the particular Class(es) or
categories described.

        “Assets” or “Property” shall mean all property of the Estates as defined in Section 541
of the Bankruptcy Code, including, without limitation, (i) all right, title, and interest in and to any
Causes of Action that the Debtors, the Estates or the Liquidating Trustee (acting in such capacity)
may have as of the Effective Date or any time thereafter and (ii) the Estates’ interest in the Escrow
Amount, pursuant to and as calculated under the Purchase Agreement; provided, however, that
under no circumstances shall the Transferred Assets (as defined in the Purchase Agreement)
constitute the Assets or Property of the Debtors for purposes under this Plan.

      “Avoidance Action” means all avoidance actions including all Causes of Action under
Chapter 5 of the Bankruptcy Code.

       “Ballot” means the ballots accompanying the Disclosure Statement upon which Holders
of Impaired Claims entitled to vote may indicate their acceptance or rejection of this Plan, which
must be actually received on or before the Voting Deadline in accordance with the procedures
governing the solicitation process.



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        “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.,
as in effect on the Petition Date, together with all amendments and modifications to the Code that
were subsequently made applicable to the Cases.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Middle District
of Florida, Jacksonville Division, which has jurisdiction over the Chapter 11 Cases.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as promulgated
by the United States Supreme Court pursuant to section 2075 of title 28 of the United States Code,
and any applicable rules of the Bankruptcy Court, as amended, from time to time and as applicable
to the Chapter 11 Cases.

       “Bar Date” means (i) with respect to entities other than governmental units, October 24,
2016 and (ii) with respect to governmental units, December 9, 2016, by which any Person asserting
a Claim against the Debtors must have filed a Proof of Claim or be forever barred from asserting
such Claim.

        “Business Day” means any day except a Saturday, Sunday, or "legal holiday" as such term
is defined in Bankruptcy Rule 9006(a).

        “Cash” means legal tender of the United States of America. When used in this Plan with
respect to a distribution under this Plan, the term “Cash” means lawful currency of the United
States of America, a certified check, a Cashier’s check, a wire transfer of immediately available
funds from any source, or a check from the Debtors drawn on a domestic bank.

       “Cause” means gross negligence, breach of fiduciary duty, breach of trust, reckless or
willful mishandling of the Liquidating Trust Assets, fraud, self-dealing, intentional
misrepresentation, or willful misconduct.

        “Causes of Action” means any and all of the Estates’ and the Debtors’ actions, Claims,
demands, rights, defenses, counterclaims, suits, causes of action, liabilities, obligations, debts,
judgments, remedies, damages, recoupments, cross claims, counterclaims, third-party claims,
indemnity claims, contribution claims, and any other claims, whether known or unknown, foreseen
or unforeseen, direct or indirect/derivative, choate or inchoate in law, equity or otherwise,
including all avoidance actions and rights to recover transfers voidable or recoverable under
Sections 502, 542, 543, 544, 545, 547, 548, 549, 550, 551, and/or 553 of the Bankruptcy Code,
and any and all other Claims or rights of any value whatsoever, at law or in equity, against any
Creditor or other third party, including any and all Claims against any Affiliates, members,
officers, directors, managers, employees or other Insiders of the Debtors or their Affiliates. Some
of the Causes of Action may be described in further detail in the Disclosure Statement.

           “Chapter 11 Cases" means the Chapter 11 cases commenced by the Debtors.

       “Claim” has the meaning ascribed to such term in Section 101(5) of the Bankruptcy Code.
Notwithstanding anything to the contrary contained in this Plan, when used in this Plan, the term
“Claim” will be given the broadest possible meaning permitted by applicable law and will include
all manner and type of claim, whenever and wherever such claim may arise.

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        “Claims Litigation” shall mean any and all litigation or proceedings arising out of
objections to Claims asserted against the Estate(s), or affirmative counterclaims or requests for
setoff or recoupment that are raised with regard to Claims asserted against the Estate(s).

           “Claims Objection Deadline” shall have the meaning set forth in § 14.1 of this Plan.

        “Class” means a category of Claims or Equity Interests classified together as described in
Article 2 of this Plan, pursuant to Section 1122(a) of the Bankruptcy Code.

           “Clerk” means the Clerk of the Bankruptcy Court.

      “Confirmation” or “Confirmation of the Plan” means the approval of this Plan by the
Bankruptcy Court at the Confirmation Hearing.

      “Confirmation Date” means the date on which the Confirmation Order is entered on the
Docket pursuant to Bankruptcy Rule 5003(a).

       “Confirmation Hearing" means the hearing or hearings conducted by the Bankruptcy
Court to consider Confirmation of this Plan as it may be modified hereafter from time to time.

        “Confirmation Order” means the final order entered by the Bankruptcy Court in the
Cases confirming this Plan pursuant to Section 1129 and other applicable sections of the
Bankruptcy Code, which order will be in form and substance reasonably satisfactory to the Debtors
and the Creditors’ Committee, and will include any amendments, supplements or modifications
thereto made with the consent of the Debtors, or as determined by the Bankruptcy Court.

           “Consolidated Debtors” shall have the meaning set forth in § 6.1.2 of this Plan.

        “Consummation Date” shall mean the date on which the Liquidating Trustee makes the
final Distribution in accordance with this Plan.

       “Contingent” with reference to a Claim, shall mean a Claim that has not accrued and that
is dependent on a future event that may or may not occur.

        “Creditor” means the Holder of a Claim, within the meaning of Section 101(10) of the
Bankruptcy Code, including Creditors with Administrative Expense Claims, Priority Tax Claims,
Priority Claims, Secured Claims, Unsecured Claims, and any other Claims classified in this Plan.

       “Creditors’ Committee” means the Official Committee of Unsecured Creditors,
appointed by the United States Trustee in these Cases pursuant to Section 1102 of the Bankruptcy
Code, as the membership of such committee has been or may be modified by the United States
Trustee.

        “Cure Amounts" means all amounts that must be paid by the Debtors and all obligations
that otherwise must be satisfied pursuant to Section 365(b)(1)(A) of the Bankruptcy Code in
connection with the assumption and/or assignment of the Assumed Contracts and Leases to
Premier Acquisition as provided in the Purchase Agreement and the Sale Procedures Order.


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           “Debt” has the meaning ascribed to such term in Section 101(12) of the Bankruptcy Code.

       “Debtors” means, collectively, Premier Exhibitions, Inc., Premier Merchandising, LLC,
Premier Exhibition Management LLC, Arts and Exhibitions International, LLC, Premier
Exhibitions NYC, Inc., Premier Exhibitions International, LLC, and Dinosaurs Unearthed Corp.

       “Designated Notice” means notice and an opportunity for a hearing as defined in Section
102(a) of the Bankruptcy Code, with notice limited to the Liquidating Trustee and his or her
counsel, the Office of the United States Trustee, and other parties in interest who, after entry of
the Confirmation Order, file a request for notice with the Clerk of the Court and serve a copy of
such request on counsel to the Liquidating Trustee.

        “Disclosure Statement” means the Disclosure Statement to accompany this Plan,
including all attached exhibits, appendices, and schedules, as jointly submitted and filed by the
Debtors pursuant to Section 1125 of the Bankruptcy Code in respect of the Cases and provisionally
approved by the Bankruptcy Court as containing “adequate information” as that term is defined by
Section 1125(a)(1) of the Bankruptcy Code, in the Disclosure Statement Approval Order [Docket
No. •], as such Disclosure Statement has been and may be amended, supplemented, modified, or
amended and restated from time to time.

        “Disallowed” or “Disallowed Claim” shall mean: (a) a Claim, or any portion thereof, that
has been disallowed by a Final Order of the Court or otherwise in accordance with this Plan; (b) a
Claim that has been listed in the Schedules in the amount of zero dollars or an unknown amount
or as contingent, disputed or unliquidated, and as to which no Proof of Claim has been timely filed
or deemed timely filed with the Court pursuant to the Bankruptcy Code, any Final Order of the
Court or other applicable law; or (c) a Claim that has not been listed in the Schedules and as to
which no proof of claim has been timely filed or deemed timely filed with the Court pursuant to
the Bankruptcy Code, any Final Order of the Court or other applicable law.

      “Disputed Claim” means any Claim (other than a Disallowed Claim) that has not been
Allowed by a Final Order of the Bankruptcy Court.

       “Disputed Claims Reserve” means the reserve established in accordance with § 7.4.2
of this Plan for the payment of Disputed Claims, which reserve may be augmented by the
Liquidating Trustee as set forth in this Plan and the Liquidating Trust Agreement.

       “Distribution” shall mean Cash, Property, interests in Property or other value distributed
under this Plan to the Holders of Allowed Claims.
        “Distribution Date” shall mean the date of any Distribution under this Plan. The initial
Distribution Date shall occur as soon as reasonably practicable following the Effective Date, as
determined by the Liquidating Trustee in his or her sole discretion. Any subsequent Distribution
Date(s) shall occur as soon as practicable following a determination by the Liquidating Trustee
that there are sufficient Net Distributable Assets to make a subsequent distribution to the Holder
of Claims or Interests pursuant to the terms of this Plan.

           “Docket” means the docket or dockets in the Cases maintained by the Clerk.


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       “Effective Date” means the first Business Day following satisfaction or waiver of the
conditions precedent to the occurrence of the Effective Date, as provided for by Article 13 herein,
or such later date as the Bankruptcy Court approves if implementation of this Plan is stayed by
order of a court of competent jurisdiction.

           “Entity” has the meaning ascribed to such term in section 101(15) of the Bankruptcy Code.

       “Equity Interests” or “Interests” means any equity interest of a member and/or
shareholder in one or more of the Debtors.

       “Estates” means collectively, the estates created for the Debtors under Section 541 of the
Bankruptcy Code upon the commencement of the Cases, as may be consolidated on a limited basis
pursuant to § 6.1 of this Plan and controlled by the Liquidating Trustee on and after the Effective
Date.

      “Executory Contract or Unexpired Lease” means a contract or lease to which one or
more of the Debtors is a party that is subject to assumption or rejection under section 365 of the
Bankruptcy Code.

       “File” “Filed” or “Filing” means file, filed, or filing with the Bankruptcy Court in the
Chapter 11 Cases.

      “Final Decree” means the Final Order of the Bankruptcy Court entered pursuant to
Bankruptcy Rule 3022 closing the Chapter 11 Cases.

           “Final Order” means—

              (1) an order, judgment, ruling, or other decree (or any revision, modification, or
                  amendment thereto) issued and entered by the Bankruptcy Court or by any state or
                  other federal court that has jurisdiction over any proceeding in connection with the
                  Cases for the purpose of such proceeding, which order, judgment, ruling, or other
                  decree has not been reversed, vacated, stayed, modified, or amended and as to
                  which:

                      a. no appeal, petition for review, reargument, rehearing, reconsideration, or
                         certiorari has been taken and is pending and the time for the filing of such
                         appeal, petition for review, reargument, rehearing, reconsideration, or
                         certiorari has expired, or

                      b. such appeal or petition has been heard and dismissed or resolved and the
                         time to further appeal or petition has expired with no further appeal or
                         petition pending; or

              (2) a stipulation or other agreement entered into which has the effect of any such order,
                  judgment, ruling, or other decree with like finality.



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        “Governmental Authority” means any agency, board, bureau, executive, court,
commission, department, legislature, tribunal, instrumentality, or administration of the United
States, a foreign country, or any state, or any provincial, territorial, municipal, state, local, or other
governmental Entity in the United States of America or a foreign country.

           “Holder” means:

              (1) as to any Claim:

                     a. the owner or Holder of such Claim as such is reflected on the Proof of Claim
                        filed with respect to such Claim;

                     b. if no Proof of Claim has been filed with respect to such Claim, the owner
                        or Holder of such Claim as shown on the Schedules or books and records
                        of the Debtors or as otherwise determined by order of the Bankruptcy Court;
                        or

                     c. if the owner or Holder of such Claim has transferred the Claim to a third
                        party, advised the Debtors in writing of such transfer and transferee, and
                        filed notice of the transfer and transferee with the Clerk of the Bankruptcy
                        Court as required by Bankruptcy Rule 3001(e); and

              (2) as to any Equity Interest, all owners of Equity Interests as of the Confirmation Date.

       “Impaired” means, when used with reference to a Claim or Equity Interest, a Claim or
Equity Interest that is impaired within the meaning of Section 1124 of the Bankruptcy Code.

           “Insider” has the meaning ascribed to such term in Section 101(31) of the Bankruptcy
Code.

       “Intercompany Claims” means any Claim by any Debtor or any of its affiliates against
another Debtor or any of its affiliates, including but not limited to, intercompany receivables and
payments made in the ordinary course of the Debtors’ businesses.

         “Liabilities” means any and all liabilities, obligations, judgments, damages, charges, costs,
Debts, and indebtedness of any and every kind and nature whatsoever, whether heretofore, now,
or hereafter owing, arising, due, or payable, direct or indirect, absolute or contingent, liquidated or
unliquidated, known or unknown, foreseen or unforeseen, matured or unmatured, in law, equity or
otherwise, of or relating to one or more of the Debtors, predecessor, successor or assign thereof,
or otherwise based in whole or in part upon any act or omission, transaction, event or other
occurrence taking place prior to the Effective Date in any way relating to the Debtors or any
predecessor, successor, or assign thereof, the Property, the business or operations of the Debtors,
the Cases, or this Plan, including any and all liabilities, obligations, judgments, damages, charges,
costs, Debts, and indebtedness based in whole or in part upon any Claim of or relating to successor
liability, transferee liability, or other similar theory; provided, however, that, as used in this Plan,
the term “Liabilities” does not include any post confirmation or post Effective Date payment
obligation expressly set forth and preserved in this Plan.

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         “Lien” has the meaning ascribed to it in section 101(37) of the Bankruptcy Code and, with
respect to any asset or Property, includes any mortgage, pledge, security interest, lien, right of first
refusal, option, or other right to acquire, assignment, charge, claim, easement, conditional sale
agreement, title retention agreement, defect in title, or other encumbrance or hypothecation or
restriction of any nature pertaining to or affecting such asset or Property, whether voluntary or
involuntary and whether arising by law, contract, or otherwise. Any lien avoided in accordance
with Sections 544, 545, 547, 548, or 549 of the Bankruptcy Code shall not constitute a Lien.

      “Liquidating Trust” shall mean the trust created pursuant to the Liquidation Trust
Agreement and Article 6 of this Plan.

        “Liquidating Trust Agreement” means the agreement governing the formation and
conduct of the Liquidation Trust between the Debtors and the Liquidating Trustee to be entered
into as of the Effective Date, substantially in form and substance as that attached hereto as Exhibit
A, as such Liquidating Trust Agreement may be amended from time to time in accordance with its
terms.

       “Liquidating Trust Assets” means, collectively, (i) all Property transferred to the
Liquidating Trust pursuant to § 6.2.2 of this Plan and in accordance with the Liquidating Trust
Agreement and (ii) any Cash or proceeds of any other property received or generated by the
Liquidating Trust from any source.

       “Liquidating Trust Beneficiaries” means all individuals and entities entitled to
Distributions from the Liquidating Trust under this Plan and the Liquidating Trust Agreement.

       “Liquidating Trust Expenses” means any and all costs, expenses and other liabilities
incurred or anticipated to be incurred in connection with the administration of the Liquidation
Trust and the maintenance, liquidation and Distribution of the Liquidating Trust Assets,
including, without limitation, (1) amounts due to the Liquidating Trustee and its Professionals,
agents and advisors, (2) amounts due to the Liquidating Trust Oversight Committee and its
members and their respective professionals, and (3) U.S. Trustee fees due under § 3.2 of this Plan
or the U.S. Trustee’s guidelines, in each case whether incurred or asserted pursuant to this Plan,
the Confirmation Order, the Liquidating Trust Agreement or otherwise.

       “Liquidating Trust Expense Reserve” means the reserve established in accordance
with § 7.4.1 of this Plan for the payment of Liquidating Trust Expenses, which reserve may
be augmented by the Liquidating Trustee as set forth in this Plan and the Liquidating Trust
Agreement.
       “Liquidating Trust Oversight Committee” means the committee established pursuant to
the Liquidating Trust Agreement and § 6.3 of this Plan and as further described therein.
       “Liquidating Trustee” means Mark Healy of Michael Moecker & Associates, Inc., or if
Mark Healy is unwilling or ineligible to serve as Liquidating Trustee, such other Person designated
pursuant to the Liquidating Trust Agreement.

       “Net Distributable Assets” shall mean, and be calculated, as follows: the total gross Cash
proceeds of the Liquidating Trust Assets that remain in the Liquidating Trust less (a) Retained

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Proceeds, (b) unpaid and outstanding (i) Allowed Administrative Expense Claims and (ii)
Allowed Priority Tax Claims, and (c) unpaid and outstanding Allowed Class 1 Claims.
           “PEM” means Premier Exhibition Management LLC.

         “Person” means any person, individual, corporation, association, partnership, limited
liability company, joint venture, trust, organization, business, government, governmental agency,
or political subdivision thereof, or any other entity or institution of any type whatsoever, including
any “person” as such term is defined in Section 101(41) of the Bankruptcy Code.

        “Petition Date” means June 14, 2016, the date upon which each Debtor filed a voluntary
petition for relief in the Bankruptcy Court under Chapter 11 of the Bankruptcy Code.

       “Plan,” “the Plan,” or “this Plan” means this liquidating plan under Chapter 11 of the
Bankruptcy Code, including, without limitation, any exhibits, appendices, and schedules hereto
which may be filed with the Plan Supplement, if any, as such may be altered, amended, or
otherwise modified from time to time.

       “Plan Documents” means all documents that aid in effectuating this Plan, including,
without limitation, all documents filed with the Bankruptcy Court at or before the Confirmation
Hearing, and including the Confirmation Order.

           “Plan Proponent” means the Debtors.

         “Plan Supplement” means the supplemental documents, schedules, and exhibits to this
Plan, to be filed by the Debtors no later than [•], if necessary. The Debtors shall have the right to
amend all of the documents contained in, and exhibits to, the Plan Supplement through the
Effective Date.

           “Post-Confirmation” means arising or accruing on or after the Confirmation Date.

           “Prepetition” means arising or accruing prior to the Petition Date.

           “Premier Acquisition” means Premier Acquisition Holdings LLC.

       “Priority Claim” means a Claim that is entitled to a priority in payment pursuant to
subparagraphs (3) through (7) or subparagraph (9) of Section 507(a) of the Bankruptcy Code.

       “Priority Tax Claim” means a Claim of a Governmental Unit that is entitled to a priority
in payment pursuant to Section 507(a)(8) of the Bankruptcy Code and that is not an Administrative
Expense, Secured Claim, or Unsecured Claim.

        “Pro Rata” or “Pro Rata Share” means, with respect to any Distribution to the Holder
of an Allowed Claim in a particular Class or otherwise, a fraction, the numerator of which will be
the amount of such Holder’s Allowed Claim and the denominator of which will be the sum of all
Allowed Claims and all Disputed Claims in such Class and, if applicable, other Classes. The terms
“Pro Rata” and/or “Pro Rata Share” will also be applied in respect of Administrative Expense
Claims, Priority Tax Claims, and Priority Claims as the context requires in this Plan.

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       “Professional” means any professional person (a) employed in the Chapter 11 Cases with
the approval of the Bankruptcy Court pursuant to section 327or 1103 of the Bankruptcy Code, or
(b) employed by the Liquidating Trustee, pursuant to this Plan.

           “Professional Claims Bar Date” means forty-five (45) days after the Effective Date.

       “Professional Compensation” means any unpaid fees and expenses of Professionals, as
such fees and expenses are allowed by the Bankruptcy Court.

        “Professional Compensation Claim” means a Claim for compensation, indemnification,
or reimbursement of expenses pursuant to sections 327, 328, 330, 331, or 503(b) of the Bankruptcy
Code in connection with the Chapter 11 Cases incurred on or after the Petition Date and prior to
the Effective Date.

       “Proof of Claim” means a proof of claim filed in these Cases pursuant to Bankruptcy
Rules 3001, 3002, or 3003 in accordance with various orders of the Bankruptcy Court.

           “PRXI” means Premier Exhibitions, Inc.

           “PRXI Equity Interest” means any Equity Interest in PRXI.

       “Purchase Agreement” means that certain Asset Purchase Agreement, dated as of June
14, 2018 by and among (i) the Debtors and certain non-Debtor affiliates, as sellers and (ii) Premier
Acquisition, as purchaser, as such Purchase Agreement was subsequently amended on September
14, 2018 and February 13, 2019.

           “Rejection Claims” shall have the meaning set forth in § 9.3 of this Plan.

           “Rejection Objection Deadline” shall have the meaning set forth in § 9.3 of this Plan.

       “Reserves” shall mean, collectively, the Liquidating Trust Expense Reserve, the Disputed
Claims Reserve, and the Administrative and Priority Claims Reserve.

         “Retained Proceeds” shall mean all amounts allocated to the Reserves plus any unpaid
and outstanding Liquidating Trust Expenses that are not otherwise allocated to and provided for
in the Liquidating Trust Expense Reserve.

       “Sale” means the sale of the Transferred Assets to Premier Acquisition as contemplated
by the Asset Purchase Agreement, which closed on Wednesday, February 13, 2019.

       “Sale Order” means the order of the Bankruptcy Court approving the Sale Transaction,
dated October 19, 2018 [Docket No. 1232].

       “Sale Proceeds” means the proceeds received by the Debtors from the Sale pursuant to
the Purchase Agreement.

         “Schedules” means, unless otherwise specified, the respective schedules of assets and
liabilities, the list of holders of Equity Interests, and the statements of financial affairs filed by the

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Debtors in accordance with section 521 of the Bankruptcy Code and the Bankruptcy Rules, as such
schedules and statements have been or may be supplemented or amended on or prior to the
Confirmation Date.

           “Secured Claim” means any Claim that is—

              (1) secured in whole or in part, as of the Petition Date, by a Lien which is valid,
                  perfected and enforceable under applicable law and is not subject to avoidance
                  under the Bankruptcy Code or applicable nonbankruptcy law; or

              (2) subject to setoff under Section 553 of the Bankruptcy Code;

but, with respect to both paragraphs (1) and (2) above, only to the extent of the Estates’ interest in
the value of the assets or Property securing any such Claim or the amount subject to setoff, as the
case may be. Except as otherwise provided in this Plan, if the value of a Creditor’s interest in the
Estates’ interest in the Property securing such Claim or the amount subject to setoff is less than
the amount of the Allowed Claim, the resulting deficiency constitutes an Unsecured Claim, which
Claim shall be treated as set forth in Article 4 of this Plan.
           “Subsidiary Equity Interests” means an Equity Interest in any Debtor other than PRXI.

         “Taxes” means all (i) federal, state, local or foreign taxes, including, without limitation,
all net income, alternative minimum, net worth or gross receipts, sales, capital, value added, profits
and estimated taxes and (ii) interest, penalties, fines, additions to tax or additional amounts
imposed by any Governmental Authority or paid in connection with any item described in clause
(i) hereof.

      “Transferred Assets” shall have the meaning ascribed to such term in the Purchase
Agreement.

           “Undeliverable Distribution” shall have the meaning set forth in § 7.8 of this Plan.

       “Unimpaired Claim” means a Claim that is not impaired within the meaning of Section
1124 of the Bankruptcy Code.

        “Unsecured Claim” means any Claim that is not an Administrative Expense Claim,
Priority Tax Claim, Priority Claim, or Secured Claim, including (a) any Claim arising from the
rejection of an Executory Contract or Unexpired Lease under Section 365 of the Bankruptcy Code
and (b) any portion of a Claim to the extent the value of the Holder’s interest in the Estates’ interest
in the Property securing such Claim is less than the amount of the Claim, or to the extent that the
amount of the Claim subject to setoff is less than the amount of the Claim, as determined pursuant
to Section 506(a) of the Bankruptcy Code

        “US Trustee” means the office of the United States Trustee for Region 21, the Middle
District of Florida (Orlando and Jacksonville divisions).

       “US Trustee Fees” means all fees and charges assessed against the Estate by the US
Trustee and due pursuant to section 1930 of title 28 of the United States Code.

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        “Voting Deadline” means the date established by the Bankruptcy Court for the filing of
Ballots to accept or reject this Plan.

        1.2    Other Terms. Any capitalized term used in this Plan and not defined herein that is
used in the Bankruptcy Code or Bankruptcy Rules shall have the meaning assigned to that term in
the Bankruptcy Code or Bankruptcy Rules.

        1.3     Rules of Construction. The meanings set forth herein shall be equally applicable
to the singular and plural forms of the terms defined, and pronouns stated in the masculine,
feminine, or neutral gender shall include the masculine, feminine, and neutral gender. Unless
otherwise stated, the words "herein," "hereof," "hereto," "hereunder," and other similar words refer
to this Plan as a whole and not to any particular article, section, subsection, clause, paragraph, or
portion contained therein. All of the definitions and provisions contained in this Article 1 are and
shall be regarded as integral, substantive, and operative provisions of this Plan. The headings in
this Plan are for convenience of reference only and shall not limit or otherwise affect the provisions
hereof. Except as otherwise provided, any references to the Effective Date shall mean the Effective
Date or as soon as reasonably practicable thereafter. The rules of construction set forth in section
102 of the Bankruptcy Code shall apply to all of the provisions of this Plan.

       1.4     Exhibits, Supplements, Appendices, and Schedules. All exhibits, supplements,
appendices, and schedules to this Plan, including those filed with the Plan Supplement, if any, are
incorporated into and are a part of this Plan as if set forth herein. To the extent that any exhibit,
schedule, or Plan Supplement is inconsistent with the terms of this Plan, unless otherwise ordered
by the Bankruptcy Court, this Plan shall control.

        1.5     Controlling Document. The provisions of this Plan and of the Confirmation Order
shall be construed in a manner consistent with each other so as to effect the purposes of each;
provided, that, if there is determined any inconsistency between a Plan provision and a provision
of the Confirmation Order, the Confirmation Order provision shall govern and such provision shall
be deemed a modification of this Plan and shall control and take precedence.

                                            ARTICLE 2

                     CLASSIFICATION OF CLAIMS AND INTERESTS

        2.1    Summary. The chart below lists the classification of Claims (except for
Administrative Expense Claims and Priority Tax Claims) and Equity Interests for all purposes,
including voting, confirmation and Distribution pursuant to this Plan. Consistent with Section
1122 of the Bankruptcy Code, a Claim or Interest is classified by this Plan in a particular Class
only to the extent that the Claim or Equity Interest is within the description of the Class, and a
Claim or Interest is classified in a different Class to the extent it is within the description of that
different Class. In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative
Claims and Priority Tax Claims have not been classified in this Plan. The treatment accorded to
Administrative Expenses and Priority Tax Claims is set forth in Article 3.




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       CLASS                         DESCRIPTION                                   STATUS

                               Unclassified Claims Against the Debtors

 n/a                     Administrative Expense Claims and                  Unimpaired – not
                         Priority Tax Claims (§ 507(a)(8)) against          entitled to vote
                         all Debtors
                               Classified Claims Against the Debtors
 Class l                 Priority Non-Tax Claims (including                 Unimpaired – deemed to
                         Claims for wages under § 507(a)(4) for             accept
                         contribution to employee benefit plans
                         under § 507(a)(5) and for consumer
                         deposits under § 507(a)(7))


 Class 2                 Unsecured Claims                                   Impaired – entitled to vote

 Class 3                 PRXI Equity Interests                              Impaired – deemed to
                                                                            reject
 Class 4                 Subsidiary Equity Interests                        Impaired – deemed to
                                                                            reject


      2.2     Unclassified Claims. In accordance with Bankruptcy Code Section 1123(a)(1),
Administrative Claims and Priority Tax Claims have not been classified.

           2.3      Classified Claims.

               2.3.1 Unimpaired Class of Claims. The following Class contains Claims that
are not Impaired by this Plan, are deemed to accept this Plan, and are not entitled to vote on this
Plan.

                           Class 1. Priority Claims

               2.3.2 Impaired Voting Class of Claims. The following Class contains Claims
that are Impaired by this Plan and are entitled to vote on this Plan.

                           Class 2. General Unsecured Claims

                2.3.3 Impaired Non-Voting Classes of Interests. The following Classes contain
Interests that are Impaired by this Plan, are deemed to reject this Plan, and are not entitled to vote
on this Plan.

                           Class 3. PRXI Equity Interests

                           Class 4. Subsidiary Equity Interests

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        2.4     Special Provision Governing Unimpaired Claims. Except as otherwise provided in
this Plan, nothing under this Plan shall affect the rights of the Debtors or the Liquidating Trustee,
as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                                             ARTICLE 3

TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, STATUTORY FEES, AND
                     PRIORITY TAX CLAIMS

        As provided in Section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, U.S. Trustee Fees, and Priority Tax Claims shall not be classified for the purposes of
voting or receiving Distributions under this Plan. Rather, all such Claims shall be treated
separately as unclassified Claims on the terms set forth in this Article 3. Except as otherwise
specifically provided in this Plan, the treatment of, and the consideration to be received by, the
U.S Trustee and Holders of Allowed Administrative Expense Claims and Priority Tax Claims
pursuant to this Plan will be in full and final satisfaction, settlement, release, extinguishment, and
discharge of their respective Allowed Administrative Expense Claims, U.S. Trustee Fees, and
Priority Tax Claims.

           3.1      Administrative Expense Claims.

                3.1.1 Treatment. Subject to (a) the Bar Date provisions herein and (b)
additional requirements for Professionals and certain other Persons set forth below, each Holder
of an Allowed Administrative Expense Claim against the Debtors shall receive, on the Effective
Date, in full satisfaction, settlement, release and extinguishment of such Claim, Cash equal to the
Allowed amount of such Administrative Expense Claim, unless the Holder agrees or shall have
agreed to other treatment of such Claim no less favorable to the Debtors; provided, however, that
any Administrative Expense Claim (x) incurred Post-petition by a Debtor in the ordinary course
of its business or (y) arising pursuant to one or more Post-petition agreements or transactions
entered into by any Debtor with Bankruptcy Court approval, shall be paid or performed in
accordance with the terms and conditions of the particular transaction(s) and any agreement(s)
relating thereto, or as otherwise agreed by the applicable Debtor or the Liquidating Trustee, on the
one hand, and the Holder of such Administrative Expense Claim, on the other. The Holder of an
Allowed Administrative Expense Claim shall not be entitled to, and shall not be paid, any interest,
penalty, or premium thereon, and any interest, penalty, or premium asserted with respect to an
Administrative Expense Claim shall be deemed disallowed and expunged without the need for any
further Order of the Bankruptcy Court; provided, however, that this provision shall not prevent the
US Trustee from seeking interest on unpaid US Trustee Fees, if any.

            3.1.2 Administrative Expense Claims Bar Date (excluding Professional
Compensation Claims).

                       (a)      Except for Professional Compensation Claims, which are addressed
in § 3.1.3 below, requests for payment of Administrative Expense Claims must be Filed and served
on the Liquidating Trustee no later than the Administrative Expense Claim Bar Date. Holders of
Administrative Expense Claims (including, without limitation, the Holders of any Claims for

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Taxes, but excluding Professional Claims) that are required to File a request for payment of such
Claims and that do not File such requests by the Administrative Expense Claim Bar Date shall be
forever barred from asserting such Claims against the Debtors, the Liquidating Trust or any of
their Property. Notwithstanding the foregoing, any Bar Dates established during the course of
these Chapter 11 Cases shall remain in full force and effect.

                      (b)     All objections to allowance of Administrative Expense Claims
(excluding Professional Compensation Claims) must be Filed by any parties in interest no later the
Administrative Expense Claim Objection Deadline. The Administrative Expense Claim Objection
Deadline may be initially extended for an additional thirty (30) days at the sole discretion of the
Liquidating Trustee upon the Filing of a notice of the extended Administrative Expense Claim
Objection Deadline with the Bankruptcy Court. Thereafter, the Administrative Expense Claim
Objection Deadline may be further extended by an Order of the Bankruptcy Court, which Order
may be granted without notice to any Creditors. If no objection to the applicable Administrative
Expense Claim is Filed on or before the Administrative Expense Claim Objection Deadline, as
may be extended from time to time, such Administrative Expense Claim will be deemed Allowed,
subject to the Bankruptcy Court’s discretion to extend such Administrative Expense Claim
Objection Deadline retroactively.

               3.1.3 Professional Compensation Claims Bar Date.

                        (a)     All Professionals or other Persons requesting compensation or
reimbursement of expenses pursuant to any of Sections 327, 328, 330, 331, and 503(b) of the
Bankruptcy Code for services rendered on or before the Confirmation Date shall File and serve on
counsel for the Liquidating Trustee their Professional Compensation Claim by the Professional
Claims Bar Date, or such later date as the Bankruptcy Court shall order upon application made
prior to the expiration of the Professional Claims Bar Date.

                       (b)     Objections to Professional Compensation Claims must be Filed and
served on counsel for the Liquidating Trustee and the Professionals or other Persons to whose
application the objections are addressed on or before (i) thirty (30) days after the Professional
Claims Bar Date or (ii) such later date as (y) the Bankruptcy Court shall order upon application
made prior to the end of such 30-day period or (z) is agreed between the Liquidating Trustee and
the affected Professional or other Person.

                       (c)    Any Professional Compensation incurred by the Debtors or the
Creditors’ Committee subsequent to the Confirmation Date may be paid by the Liquidation Trust
without application to or Order of the Bankruptcy Court.

        3.2    Statutory Fees. All fees and charges assessed against the Estate under Chapter 123
of Title 28, United States Code, 28 U.S.C. §§ 1911-1930, which are incurred but unpaid for all
periods through the Effective Date, will be paid on the Effective Date or as soon as reasonably
practicable thereafter, by the Liquidating Trustee. After the Effective Date, the Liquidating
Trustee shall pay to the U.S. Trustee the U.S. Trustee Fees, in Cash, until the Chapter 11 Cases are
closed, and a Final Decree is entered. In addition, the Liquidating Trust shall file Post-
Confirmation quarterly reports in conformance with the U.S. Trustee guidelines. The U.S. Trustee


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shall not be required to File a request for payment of its U.S. Trustee Fees, which will be deemed
Administrative Expense Claims against the Debtors.

        3.3     Priority Tax Claims. The Liquidating Trustee will pay all Allowed Priority Tax
Claims in Cash in full on the Effective Date or as soon thereafter as is reasonably practicable, but
in no event later than the end of five (5) years from the Petition Date. As to any Allowed Priority
Tax Claim not paid in full on the Effective Date, the Holder of such Allowed Priority Tax Claim
shall receive on account of such Allowed Priority Tax Claim regular quarterly installment
payments in Cash in accordance with Section 1129(a)(9)(C) of the Bankruptcy Code through and
including the date such Allowed Priority Tax Claim is paid in full. Holders of Allowed Priority
Tax Claims shall receive interest on account of their Allowed Priority Tax Claims at the Section
6621 Interest Rate; provided, however, that if the Holder of such Allowed Priority Tax Claim is a
city, county or state, such Holder shall receive interest on account of its Allowed Priority Tax
Claim at the applicable statutory rate under state law. To the extent that any Allowed Priority Tax
Claim is allowed after the Effective Date, it will be paid in full in Cash as soon after allowance as
is reasonably practicable over a period no later than the end of five (5) years from the Petition
Date, including interest as calculated above.

                                           ARTICLE 4

               TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

        Claims and Equity Interests will be treated under this Plan in the manner set forth in this
Article 4. Except as otherwise specifically provided in this Plan, the treatment of, and the
consideration to be received by, Holders of Allowed Claims and Holders of Allowed Equity
Interests pursuant to this Plan will be in full and final satisfaction, settlement, release,
extinguishment, and discharge of their respective Allowed Claims, of any nature whatsoever, and
Allowed Equity Interests.

        4.1     Class 1: Priority Claims. Except to the extent that a Holder of an Allowed Priority
Claim agrees to a less favorable treatment of such Claim, in full and final satisfaction of such
Allowed Priority Claim, at the sole option of the Debtors or the Liquidating Trustee, each Holder
of an Allowed Priority Claim shall receive: (a) Cash in an amount equal to the amount of such
Allowed Priority Claim on the later of (1) the Effective Date or as soon as reasonably practicable
thereafter, and (2) for Claims in Class 1 that were Disputed Claims and thereafter became Allowed
Priority Claims, immediately following the date upon which such Claims became Allowed Priority
Claims, or as soon as reasonably practicable thereafter, or (b) such other treatment so as to render
such Holder's Allowed Priority Claim Unimpaired.

        4.2     Class 2: Unsecured Claims. Each Holder of an Allowed General Unsecured Claim
shall receive its Pro Rata Share of the Net Distributable Assets.

        4.3     Class 3: PRXI Equity Interests. On the Effective Date, all PRXI Equity Interests
shall be cancelled as set forth in § 7.5 of this Plan. Holders of PRXI Equity Interests shall receive
no Distribution and retain no Assets on account of such Interests.



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        4.4      Class 4: Subsidiary Equity Interests. On the Effective Date, all Subsidiary Equity
Interests shall be canceled as set forth in § 7.5 of this Plan. Holders of Subsidiary Equity Interests
shall receive no Distribution and retain no Assets on account of such Interests.

                                             ARTICLE 5

                         ACCEPTANCE OR REJECTION OF THIS PLAN

        5.1     Presumed Acceptance by Unimpaired Class. Claims in Class 1 are Unimpaired
under this Plan. Under Bankruptcy Code Section 1126(f), Holders of such Unimpaired Claims are
conclusively presumed to have accepted this Plan, and the votes of such Unimpaired Claims shall
not be solicited.

        5.2     Impaired Classes Entitled to Vote. Holders of Class 2 Claims are Impaired and
entitled to vote as a Class to accept or reject this Plan. Accordingly, the votes of Holders of Claims
in Class 2 shall be solicited with respect to this Plan.

               5.2.1 Acceptance by an Impaired Class. In accordance with Bankruptcy Code
Section 1126(c), and except as provided in Bankruptcy Code Section 1126(e), Class 2 shall have
accepted this Plan if this Plan is accepted by the Holders of at least two-thirds (2/3) in dollar
amount and more than one half (1/2) in number of the Allowed Claims of such Class that have
timely and properly voted to accept or reject this Plan.

        5.3   Presumed Rejection by Impaired Voting Classes of Interests. Interests in Classes
3 and 4 are Impaired under this Plan and not entitled to a Distribution under this Plan. Under
Bankruptcy Code Section 1126(g), Holders of such Impaired Claims and Interests are conclusively
presumed to have rejected this Plan, and the votes of such Impaired Interest Holders shall not be
solicited.

       5.4     Claim Designation. The Debtors reserve the right to seek to designate, pursuant to
Section 1126(e) of the Bankruptcy Code, any Holder of any Claim whose vote on this Plan was
submitted for an improper purpose or was otherwise not submitted in good faith.

       5.5     Elimination of Vacant Classes. Any Class of Claims or Equity Interests that does
not have a Holder of an Allowed Claim or Allowed Equity Interest or a Claim or Equity Interest
temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing, shall be
deemed eliminated from this Plan for purposes of voting to accept or reject this Plan and for
purposes of determining acceptance or rejection of this Plan by such Class pursuant to Section
1129(a)(8) of the Bankruptcy Code.

                                             ARTICLE 6

                                IMPLEMENTATION OF THIS PLAN

           6.1      Limited Consolidation.

             6.1.1 Solely for purposes of voting on, Confirmation of, and Distributions to be
made to Holders of Allowed Claims under this Plan, this Plan is predicated upon, and it is a
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condition precedent to Confirmation of this Plan, that the Court provide in the Confirmation Order
for the limited consolidation of the Estates of the Debtors into a single Estate for purposes of this
Plan, the Confirmation hereof and Distributions hereunder.

                6.1.2 Pursuant to the Confirmation Order, and on the Effective Date, (i) all Assets
and Liabilities of the Debtors will be deemed to be merged into PRXI (as such, the “Consolidated
Debtors”) solely for purposes of this Plan, the Confirmation hereof and Distributions to be made
hereunder, (ii) the obligations of each Debtor will be deemed to be the obligation of the
Consolidated Debtors solely for purposes of this Plan, the Confirmation hereof and Distributions
hereunder, (iii) any Claims filed or to be filed in connection with any such obligations will be
deemed Claims against the Consolidated Debtors and all Claims filed against more than one
Debtor for the same liability shall be deemed one Claim against any obligation of the Consolidated
Debtors, (iv) each Claim filed in the Chapter 11 Case of any Debtor will be deemed filed against
the Debtors in the consolidated Chapter 11 Cases in accordance with the limited consolidation of
the Assets and Liabilities of the Debtors, (v) all transfers, disbursements and Distributions made
by any Debtor hereunder on Allowed Claims and will be deemed to be made by the Consolidated
Debtors, (vi) all guarantees of the Debtors of the obligations of any other Debtors shall be deemed
eliminated so that any Claim against any Debtor and any guarantee thereof executed by any other
Debtor and any joint or several Liability of any of the Debtors shall be deemed to be one obligation
of the Consolidated Debtors, and (vii) no Distributions shall be made under this Plan on account
of Intercompany Claims and all such Intercompany Claims shall be eliminated. Holders of
Allowed Claims in each Class shall be entitled to their share of Liquidating Trust Assets available
for Distribution to such Class without regard to which Debtor was originally liable for such Claim.
Notwithstanding the foregoing, Holders of PRXI Equity Interests and Subsidiary Equity Interests
shall be treated as provided in Class 3 and Class 4 of this Plan, respectively, without regard to any
limited consolidation of the Debtors’ Estates as provided above.

                6.1.3 Notwithstanding the foregoing, such limited consolidation shall not affect
(a) any obligations under any contracts or leases that were entered into during the Chapter 11 Cases
or Executory Contracts or Unexpired Leases that will be (or have been) assumed and assigned
pursuant to the Purchase Agreement, (b) distributions from any insurance policies or proceeds of
such policies, or (c) guarantees that are required to be maintained post-Effective Date (i) in
connection with Executory Contracts or Unexpired Leases that were entered into during the
Chapter 11 Cases or that have been, or will hereunder be, assumed and assigned, or (ii) pursuant
to the express terms of this Plan. The limited consolidation proposed herein shall not affect each
Debtor’s obligation to file the necessary operating reports and pay the U.S. Trustee Fees. Such
obligations shall continue until a Final Order is entered closing, dismissing or converting each
such Debtor’s Chapter 11 Case.

           6.2      The Liquidating Trust.

                6.2.1 Creation of the Liquidating Trust. On the Effective Date, the Liquidating
Trust shall be created for the benefit of the Liquidating Trust Beneficiaries. The Liquidating Trust
shall be governed by the Liquidating Trust Agreement, this Plan and the Confirmation Order. A
copy of the Liquidating Trust Agreement is annexed hereto as Exhibit A.



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                 6.2.2 Vesting of Liquidating Trust Assets. On the Effective Date, all Assets of
the Estates shall vest in the Liquidating Trust and constitute Liquidating Trust Assets, and each
Debtor shall be deemed for all purposes to have transferred legal and equitable title of all Assets
of its Estate to the Liquidating Trust for the benefit of the Liquidating Trust Beneficiaries. The
Debtors shall take all actions reasonably necessary to transfer control of the Liquidating Trust
Assets to the Liquidating Trustee. In accordance with Section 1123(b) of the Bankruptcy Code,
the Liquidating Trust shall be vested with, retain and may exclusively enforce, prosecute, and
resolve any or all Causes of Action that the Debtors or their Estates may have against any Person,
including, for the avoidance of doubt, the Adversary Proceeding. All transfers to the Liquidating
Trust shall be free and clear of all liens, claims, interests and encumbrances, except as otherwise
set forth in this Plan. For the avoidance of doubt, nothing herein shall be construed to restrict or
limit the ability or standing of the Liquidating Trustee to assert any Causes of Action transferred
to the Liquidating Trust. In connection with any Causes of Action that are included in the Assets
transferred by the Debtors to the Liquidating Trust (including, but not limited to the Adversary
Proceeding), any attorney-client privilege, work-product privilege or protection, or other privilege
or immunity attaching to any documents or communications thereto (whether written or oral) will
also exist for the benefit of the Liquidating Trust and will vest in the Liquidating Trustee and his
or her representatives, and will also be preserved for and as to the Debtors. The Liquidating Trustee
is authorized to take all necessary actions to benefit from such privileges. For federal income tax
purposes, the transfer of the Property to the Liquidating Trust will be deemed to be a transfer to
the Holders of Allowed Claims (who are the Liquidating Trust Beneficiaries), followed by a
deemed transfer by such Liquidating Trust Beneficiaries to the Liquidating Trust.

                6.2.3 Preservation of Rights of Action. Except as otherwise expressly provided
herein, any rights or Causes of Action accruing to or held by the Debtors or their Estates prior to
the Effective Date shall be deemed Assets of, and vest in, the Liquidating Trust on the Effective
Date, including but not limited to those Causes of Action specifically identified in the Plan
Supplement, if any. The Liquidating Trustee may pursue those rights of action, as deemed
appropriate. This Plan, the Disclosure Statement and Plan Supplement do not set forth an
exhaustive list of all Causes of Action preserved under this Plan and vesting in the Liquidating
Trust and the failure to identify or list any particular Cause of Action therein shall not constitute a
waiver or release of such Cause of Action. ALL CAUSES OF ACTIONS NOT EXPRESSLY
RELEASED OR WAIVED IN THIS PLAN OR THE CONFIRMATION ORDER SHALL
SURVIVE CONFIRMATION, AND THE ASSERTION OF CAUSES OF ACTIONS
SHALL NOT BE BARRED OR LIMITED BY ANY ESTOPPEL, WHETHER JUDICIAL,
EQUITABLE OR OTHERWISE.

                6.2.4 Administration of Claims. Promptly following the Effective Date, the
Liquidating Trustee shall review the filed Proofs of Claim and audit those Claims with regard to
(a) the supporting documents evidencing the Claims; (b) the appropriateness of the asserted
priority of each Claim; (c) the amount of the Claim as set forth in the Proof of Claim; (d) the extent
to which the Debtors originally Scheduled the Claim as Contingent, disputed or unliquidated; and
(e) whether the Proof of Claim is otherwise valid, permissible, due and payable under the
Bankruptcy Code and applicable state law; provided, however, that the Liquidating Trustee shall
not review or audit Claims already Allowed by prior Final Order of the Bankruptcy Court.
Thereafter, the Liquidating Trustee shall complete his or her review of the Claims and shall initiate,
file and prosecute any and all actions deemed necessary and appropriate to dispute, disallow, object
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to or otherwise quantify the Claims against the Debtors and/or their Estate(s). All Claims
Litigation, including actions that arise out of the amount of a submitted Claim, or any objection to
a submitted Claim, shall vest with the Liquidating Trust and shall be prosecuted by the Liquidating
Trustee. The Liquidating Trustee shall take actions regarding the administration, reconciliation
and settlement of Claims, and shall object to Claims and prosecute Claims actions, until such time
as the Liquidating Trustee determines that further pursuit of litigation or actions objecting to
Claims is no longer cost efficient and will be of no further benefit to the Estates and their creditors.
THE FAILURE TO OBJECT TO ANY CLAIM PRIOR TO THE COMMENCEMENT OF
THE HEARING ON CONFIRMATION OF THIS PLAN SHALL NOT BE DEEMED TO
BE A WAIVER OF THE RIGHT TO OBJECT THEREAFTER TO SUCH CLAIM IN
WHOLE OR IN PART FOR THE PURPOSE OF DISTRIBUTION.

                6.2.5 Payments by the Liquidating Trust. The Liquidating Trustee shall make
Distributions to Holders of Allowed Claims in accordance with Article 7 of this Plan.

                6.2.6 Full and Final Satisfaction against Liquidating Trust. On and after the
Effective Date, the Liquidating Trust will have no liability on account of any Claims or Equity
Interests except as set forth in this Plan and in the Liquidating Trust Agreement. All payments and
all Distributions made by the Liquidating Trustee under this Plan will be in full and final
satisfaction, settlement, and release of and in exchange for all Claims or Equity Interests against
the Liquidating Trust.

               6.2.7 Appointment, Removal, and Resignation of the Liquidating Trustee.

                       (a)    Initial Liquidating Trustee. The initial Liquidating Trustee shall be
Mark Healy of Michael Moecker & Associates, Inc. The Liquidating Trustee shall commence
serving as the Liquidating Trustee on the Effective Date.

                        (b)    Resignation or Removal of the Liquidating Trustee. If the
Liquidating Trustee resigns or is removed, dies, dissolves, or is incapacitated, the Liquidating Trust
Oversight Committee shall, in accordance with the Liquidating Trust Agreement designate another
Person to become the Liquidating Trustee and thereupon the successor Liquidating Trustee,
without further act, shall become fully vested with all of the rights, powers, duties, and obligations
of his or her predecessor, including the compensation of the predecessor Liquidating Trustee. No
successor Liquidating Trustee hereunder shall in any event have any liability or responsibility for
the acts or omissions of any of his or her predecessors.

             6.2.8   Rights, Powers, and Duties of the Liquidating Trust and the
Liquidating Trustee.

                        (a)    The Liquidating Trustee shall have the rights, duties and obligations
set forth in the Liquidating Trust Agreement and this Plan. Such rights, duties and obligations
include, but are not limited to, exercising control and authority over the Liquidating Trust Assets
and responsibility for liquidating and administering (or abandoning, as the case may be) the
Liquidating Trust Assets and taking actions on behalf of, and representing, the Liquidating Trust.
The Liquidating Trustee shall be the representative of and fiduciary for the Estates as contemplated
by Section 1123(b)(3)(B) of the Bankruptcy Code. The Liquidating Trustee shall have the rights

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and powers of a trustee appointed under Sections 702 and 1104 of the Bankruptcy Code to act on
behalf of the Estates and the Liquidating Trust with regard to the administration of the Cases, the
Property of the Estates, the Liquidating Trust, and the Liquidating Trust Assets. The Liquidating
Trustee shall have the authority to bind the Liquidating Trust within the limitations set forth in the
Liquidating Trust Agreement, this Plan and the Confirmation Order, but shall for all purposes
hereunder be acting in the capacity of Liquidating Trustee and not individually. Within the
limitations set forth in the Liquidating Trust Agreement and subject to the provisions of this Plan,
the responsibilities and authority of the Liquidating Trustee, shall include, without limitation: (i)
the making of Distributions to Holders of Allowed Claims as contemplated in this Plan; (ii)
establishing and maintaining a Disputed Claims Reserve to be determined in accordance with §
7.4.2 of this Plan; (iii) conducting an analysis of Claims not already Allowed by prior Final Order
of the Bankruptcy Court, and prosecuting objections thereto or settling or otherwise compromising
such Claims if necessary and appropriate in accordance with this Plan; (iv) filing appropriate tax
returns with respect to the Liquidating Trust in the exercise of its fiduciary obligations; (v)
retaining Liquidating Trust Professionals; (vi) taking such actions as are necessary to prosecute,
resolve or compromise, as appropriate, all Causes of Action assigned to the Liquidating Trust; (vii)
opening, closing and maintaining new or existing bank accounts, letters of credit and other
financial instruments; (viii) taking such actions as are necessary and reasonable to carry out the
purposes of the Liquidating Trust; and (ix) filing (or causing to be filed) any documents necessary
to effect the dissolution of each of the Debtors immediately upon the Effective Date and the
execution of the Liquidating Trust Agreement.

                    (b)     The Liquidating Trustee shall consult with the Liquidating Trust
Oversight Committee generally and shall obtain the consent or approval of the Liquidating Trust
Oversight Committee as provided in the Liquidating Trust Agreement and in § 6.3 herein.

                       (c)     The Liquidating Trustee, in his reasonable business judgment and in
an expeditious but orderly manner, shall liquidate and convert to Cash the non-Cash Liquidating
Trust Assets, make timely Distributions and not unduly prolong the duration of the Liquidating
Trust. The liquidation of the non-Cash Liquidating Trust Assets may be accomplished, either in
whole or in part, by the prosecution, settlement, or sale of the non-Cash Liquidating Trust Assets,
including Causes of Action, or any other means permitted by law.

                        (d)     The Liquidating Trustee shall file all required Post-Confirmation
operating reports through the date the Chapter 11 Cases are closed (or a Final Decree is entered),
or such other and further reports, statements or disclosures relating to the Liquidating Trust that
are necessary or appropriate or as may be reasonably requested by the Liquidating Trust Oversight
Committee. Without limiting the generality of the foregoing, the Liquidating Trustee shall file
quarterly reports setting forth: (i) the compensation paid to the Liquidating Trustee; (ii) the fees
and expenses reimbursed or paid to the Liquidating Trustee; (iii) the Professional Compensation
paid to the Liquidating Trustee’s Professionals; (iv) the amount and number of Distributions made;
(v) the amount of Disputed and Undeliverable Distributions, if any; (vi) the total amount or
estimated value of the Liquidating Trust Assets remaining; (v) the proceeds of the Adversary
Proceeding or any other lawsuit seeking the recovery of assets commenced by the Liquidating
Trustee; and (vi) all fees and expenses paid in connection therewith.



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                6.2.9 Substitution of the Liquidating Trustee. After the Effective Date, the
Liquidating Trustee shall be substituted in for the Debtors as the proper party in interest in all
pending matters, including but not limited to (a) motions, contested matters or adversary
proceedings pending in the Bankruptcy Court, and (b) all matters pending in any courts, tribunals,
forums or administrative proceedings outside of the Bankruptcy Court, and the Liquidating Trustee
is authorized to file such motions or other documents and take such actions are necessary or
appropriate to effectuate such substitution consistent with this Plan and the Liquidating Trust
Agreement. Without limiting the generality of the foregoing, the Liquidating Trustee shall
specifically be substituted as the proper plaintiff in the Adversary Proceeding without need for
further action or notice.

             6.2.10 Compensation of the Liquidating Trustee. The Liquidating Trustee shall
be compensated in accordance with the provisions of the Liquidating Trust Agreement.

                6.2.11 Retention of Professionals. The Liquidating Trustee shall have the right
to retain the services of attorneys, accountants, and other Professionals that are necessary to assist
the Liquidating Trustee in the performance of its duties as Liquidating Trustee or otherwise under
this Plan. The reasonable fees and expenses of such Professionals and the additional expenses of
the Liquidating Trustee incurred in the performance of its duties as Liquidating Trustee under this
Plan shall be paid by the Liquidating Trustee as a Liquidating Trust Expense from the Liquidating
Trust Expense Reserve. Except as otherwise set forth herein and in the Liquidating Trust
Agreement, approval of the Bankruptcy Court shall not be required for the Liquidating Trustee to
retain or pay any such Professionals.

                6.2.12 Liquidating Trust Expenses. All Liquidating Trust Expenses will be
charged against and paid from the proceeds of the Liquidating Trust Assets, and the Liquidating
Trustee will pay the same as and when due and payable; provided, however, that the Liquidating
Trustee’s compensation and the Trustee Professional Fees (as defined in the Liquidating Trust
Agreement) shall be payable only from the Liquidating Trust Expense Reserve, as set forth in the
Liquidating Trust Agreement and in § 6.2.11 herein. The Liquidating Trustee will engage
attorneys or other Professionals to prosecute Causes of Action and represent the Liquidating
Trustee as set forth in this Plan and the Liquidating Trust Agreement. The Professionals retained
by the Liquidating Trustee will submit periodic statements for services rendered and costs incurred
to the Liquidating Trustee for review and approval, which approval shall be subject to review by
the Liquidating Trust Oversight Committee. Any compensation paid to the Liquidating Trustee
and its Professionals shall be set forth in the reports to be filed by the Liquidating Trustee as
described in § 6.2.8(d) above. Likewise, any fees and expenses paid as part of the Adversary
Proceeding (or any other suit commenced by the Liquidating Trustee) shall be set forth in the
reports to be filed by the Liquidating Trustee, as described in § 6.2.8(d) above. Notwithstanding
anything herein to the contrary, the fees and expenses of (i) Agentis PLLC (and, to the extent
applicable, any individual attorney therefrom, including, but not limited to, Robert P.
Charbonneau, Esq.) and (ii) Cimo Mazer Mark, PLLC (and, to the extent applicable, any individual
attorney therefrom, including, but not limited to, Jason S. Mazer, Esq.) both with respect to the
Adversary Proceeding shall not be paid as Liquidating Trust Expenses and, instead, shall be
payable solely from the proceeds, if any, of and from the Adversary Proceeding, as approved by
the Bankruptcy Court pursuant to the orders approving their employment as special counsel to the
Liquidating Trustee, as amended. See [Docket Nos. 1038, 1338].

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                6.2.13 Liquidating Trust Accounts. The Liquidating Trustee shall maintain any
and all funds, liquid Assets, and/or Cash in one or more segregated accounts for Distribution or
for the Reserves, as applicable, solely in accordance with this Plan and Liquidating Trust
Agreement.

               6.2.14   Certain Tax Matters.

                        (a)    Purpose of the Liquidating Trust. The Liquidating Trust shall be
established for the sole purpose of liquidating and distributing the Liquidating Trust Assets in
accordance with Treasury Regulations § 301.7701-4(d), with no objective to continue or engage
in the conduct of a trade or business. Accordingly, the Liquidating Trustee will, in an expeditious
but orderly manner, liquidate and convert to Cash the Liquidating Trust Assets, make timely
distributions to the Liquidating Trust Beneficiaries in accordance with this Plan and the
Liquidating Trust Agreement and not unduly prolong its duration. Subject to definitive direction
to the contrary from the IRS (but subject to the rights of the Liquidating Trustee to seek
administrative and judicial review of any such direction), all parties shall treat the Liquidating
Trust as a liquidating trust for all federal income tax purposes, except as otherwise provided for
U.S. federal income tax purposes in the event the Liquidating Trustee timely elects to treat any
portion of the Liquidating Trust as a “disputed ownership fund” pursuant to Section 1.468B-
9(c)(2)(ii) of the Treasury Regulations. The Liquidating Trust shall not be deemed to be the same
legal entity as any of the Debtors, but only the assignee of certain assets and liabilities of the
Debtors and a representative of the Estates for delineated purposes within the meaning of Section
1123(b)(3) of the Bankruptcy Code.

                       (b)     Treatment of Liquidating Trust for Federal Income Tax Purposes;
No Successor-in-Interest. The Liquidating Trust will not be deemed a successor-in-interest of the
Debtors for any purpose other than as specifically set forth herein or in the Liquidating Trust
Agreement. The Liquidating Trust is intended to be treated as a “liquidating trust” pursuant to
Treasury Regulation § 301.7701-4(d) and as a “grantor trust” for federal income tax purposes,
pursuant to Section 671 through 679 of the Internal Revenue Code of 1986, as amended (the “IR
Code”). In the event that the Liquidating Trust shall fail or cease to qualify as a liquidating trust
in accordance with Treasury Regulations Section 301.770194(d), the Liquidating Trustee shall
take such action as he or she shall deem appropriate to have the Liquidating Trust classified as a
partnership for federal tax purposes under Treasury Regulations Section 301.7701-3 (but not a
publicly traded partnership within the meaning of Section 7704 of the IR Code), including, if
necessary, creating or converting it into a Delaware limited partnership or limited liability
company that is so classified. For federal income tax purposes, the Liquidating Trust Beneficiaries
will be treated as the grantors and owners of the Liquidating Trust and, therefore, will be
responsible for the payment of tax on their respective allocable share of the taxable income of the
Liquidating Trust.

                      (c)     Valuation of Assets. As soon as reasonably practicable after the
Effective Date, the Liquidating Trustee (to the extent that the Liquidating Trustee deems it
necessary or appropriate after consultation with the Liquidating Trust Oversight Committee) will
value the Liquidating Trust Assets based on the good faith determination of the value of such
Liquidating Trust Assets. The valuation will be used consistently by all parties (including the
Debtors, the Liquidating Trustee, and the Liquidating Trust Beneficiaries) for all federal income

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tax purposes. The Bankruptcy Court will resolve any dispute regarding the valuation of the
Liquidating Trust Assets.

                        (d)     Investment Powers of the Liquidating Trustee. All funds held by
the Liquidating Trustee shall be held in Cash or invested in demand and time deposits, such
as certificates of deposit, having maturities of not more than one year, U.S. Treasury bills, or
other temporary liquid investments all as more particularly described in the Liquidating Trust
Agreement consistent with Section 345 of the Bankruptcy Code; provided, however, that the
right and power of the Liquidating Trustee to invest Liquidating Trust Assets, the proceeds
thereof, or any income earned by the Liquidating Trust, shall be limited to the right and power
that a liquidating trust is permitted to exercise pursuant to the Treasury Regulations or as set forth
in IRS rulings, notices, or other IRS pronouncements. The Liquidating Trustee may expend
the Cash of the Liquidating Trust (x) as reasonably necessary to meet contingent liabilities
and to maintain the value of the Liquidating Trust Assets during liquidation, (y) to pay
reasonable administrative expenses (including, but not limited to, any Taxes imposed on the
Liquidating Trust) and (z) to satisfy other liabilities incurred by the Liquidating Trust in
accordance with this Plan or the Liquidating Trust Agreement.

                        (e)     Disputed Ownership Fund. With the approval of the Liquidating
Trust Oversight Committee, the Liquidating Trustee may make the election described in § 1.468B-
9(c)(2)(ii) of the Treasury Regulations to treat any portion of the Liquidating Trust consisting of
Disputed Claims as a “disputed ownership fund.” The Liquidating Trustee may also, to the extent
permitted by law, make such an election for state and local income tax purposes. If the election is
made to treat the Disputed Claims as a “disputed ownership fund,” then the Liquidating Trust may
(i) allocate taxable income or loss to the Disputed Claims, with respect to any given taxable year
(but only for the portion of the taxable year with respect to which such Claims are Disputed), and
(ii) make Distributions from the Disputed Claims Reserve as, when, and to the extent, such Claims
that are Disputed cease to be Disputed, whether by virtue of becoming Allowed or otherwise
resolved. The Liquidating Trust Beneficiaries will be bound by such election, if made by the
Trustee, and, as such, will, for U.S. federal income tax purposes (and, to the extent permitted by
law, for state and local income tax purposes), report consistently therewith.

               6.2.15 Further Transactions. The Liquidating Trustee shall be authorized to
execute, deliver, file, and/or record such contracts, instruments, releases, indentures, and other
agreements or documents, and to take such actions as may be necessary or appropriate to effectuate
and further evidence the terms and conditions of this Plan. In order to facilitate the liquidation and
distribution of the Estates and the wind-up of the Debtors’ affairs, on the Effective Date the
Liquidating Trustee shall be deemed, by operation of law and the Confirmation Order and without
need for any action by any person affiliated with the Debtors or any officer or director of the
Debtors, to hold an irrevocable power of attorney on behalf of the Debtors and the Estates and
with respect to all Assets of the Debtors and the Estates.

               6.2.16 Dissolution of Liquidating Trust. The Liquidating Trust shall
terminate after the Distribution of all Liquidating Trust Assets and the full performance of all
other duties and functions of the Liquidating Trustee set forth herein and in the Liquidating Trust
Agreement, or as otherwise ordered by the Bankruptcy Court. The Liquidating Trust shall
terminate no later than the third anniversary of the Effective Date; provided, however, that,

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within six months prior to such date or any extended termination date, the Bankruptcy Court,
upon motion by the Liquidating Trustee or other party in interest, may extend the term of the
Liquidating Trust for a finite period if it is necessary to the liquidating purpose thereof.

           6.3      Liquidating Trust Oversight Committee.

                6.3.1 Appointment. The Confirmation Order shall confirm the appointment of
the Liquidating Trust Oversight Committee, which shall begin to act on the Effective Date. The
Liquidating Trust Oversight Committee shall consist of three (3) members, each of whom must, at
all times, be the Holder of an Unsecured Claim. The initial members of the Liquidating Trust
Oversight Committee shall be B.E. Capital Management Fund LP, Dalian Hoffen Biotechnique
Co., Ltd, and 417 Fifth Avenue LLC. In the event of resignation, incapacitation, or death of any
member of the Liquidating Trust Oversight Committee, the remaining members shall designate a
successor from among the Holders of Unsecured Claims and shall re-constitute itself as a
committee of three (3). Until any such vacancy is filled, the Liquidating Trust Oversight
Committee shall function with reduced membership.

               6.3.2 Fiduciary Duties. The fiduciary duties that applied to the Creditors’
Committee prior to the Effective Date shall apply to the Liquidating Trust Oversight Committee,
as limited by the exculpations, indemnifications, releases and other protections provided in this
Plan, the Liquidating Trust Agreement, and the Confirmation Order. The duties, rights and powers
of the Liquidating Trust Oversight Committee shall terminate upon the dissolution of the
Liquidating Trust pursuant to this Plan and the Liquidating Trust Agreement.

                6.3.3 Rights and Powers. The Liquidating Trust Oversight Committee shall
oversee the actions of the Liquidating Trustee in accordance with the terms of the Liquidating
Trust Agreement. The Liquidating Trust Oversight Committee shall have the rights and powers
set forth in the Liquidating Trust Agreement. The rights and powers shall include, but not be
limited to, approving by majority vote the following (certain of which approvals or consents may
be obtained by notice and without the formality of a written approval or resolution of the
Liquidating Trust Oversight Committee, as more particularly set forth in the Liquidating Trust
Agreement):

                     (a)     the Liquidating Trustee’s determination to not object to a Claim
having a stated amount in excess of $250,000;

                      (b)     the settlement of (i) any Cause of Action in which the amount sought
to be recovered exceeds $250,000 or (ii) any Disputed Claim having a stated amount in excess of
$250,000 and to approve any release or indemnification to be given by the Liquidating Trustee in
connection with any such settlement;

                           (c)    any sale of any Liquidating Trust Assets for a price in excess of
$250,000;

                      (d)     investment of Cash or other Liquidating Trust Assets, except for
investments in demand and time deposits, such as certificates of deposit, having maturities of less
than one year and in U.S. Treasury bills;

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                      (e)     the waiver of the attorney-client privilege by the Liquidating Trustee
with respect to any Cause of Action or other litigation related matter; and

                     (f)    the election to treat any portion of the Liquidating Trust as a
“disputed ownership fund” pursuant to § 1.468B-9(c)(2)(ii) of the Treasury Regulations.

               6.3.4 Unanimous Decisions. The Liquidating Trust Oversight Committee shall
also have the absolute right and power to determine the following by the unanimous vote of all the
members of the Liquidating Trust Oversight Committee:

                       (a)     to change the initial bond to be posted by the Liquidating Trustee;
and

                        (b)    to petition the Bankruptcy Court to remove the Liquidating Trustee
for Cause, or to select a successor Liquidating Trustee when a successor is required.

If the Liquidating Trust Oversight Committee is unable to reach a unanimous decision with respect
to subsection (a) or (b), above, and such deadlock shall continue for a period of one (1) week, any
member of the Liquidating Trust Oversight Committee shall have the right to move the Bankruptcy
Court for appropriate relief.

               6.3.5 No Compensation. Except for the reimbursement of reasonable actual
costs and expenses incurred in connection with their duties as members of the Liquidating Trust
Oversight Committee, including reasonable attorneys’ fees subject to review by the Liquidating
Trustee, the members of the Liquidating Trust Oversight Committee shall serve without
compensation. Such reasonable actual costs and expenses may be paid by the Liquidating Trustee
as Liquidating Trust Expenses without approval by the Bankruptcy Court.

                 6.3.6 Objection to Fees. The Liquidating Trust Oversight Committee shall have
the right, within ten (10) days from the delivery of a fee statement, to object to the fees of any
Professional retained by the Liquidating Trustee. Likewise, the Liquidating Trustee shall have the
right, within ten (10) days from the delivery of a fee statement, to object to the fees of any
Professional retained by the Liquidating Trust Oversight Committee. Any such objection shall be
lodged by giving notice of the objection to the Professional seeking compensation or
reimbursement. For an objection to be valid, it shall be in writing and set forth in detail the specific
fees objected to and the basis for the objection. Any objection that remains unresolved fifteen (15)
days after it is made may be submitted to the Bankruptcy Court for resolution. The uncontested
portion of each invoice shall be paid within 20 days after its delivery to the Liquidating Trust
Oversight Committee and/or the Liquidating Trustee, as applicable.

               6.3.7 Removal of the Liquidating Trustee. In accordance with § 6.3.4(b) of this
Plan, the Liquidating Trust Oversight Committee shall have the right to petition the Bankruptcy
Court to remove the Liquidating Trustee for Cause. Upon such removal or upon the resignation or
death of the Liquidating Trustee, the Liquidating Trust Oversight Committee may appoint a
successor Liquidating Trustee, and, in that event, the Liquidating Trust Oversight Committee shall
File with the Bankruptcy Court a notice of the appointment of the successor Liquidating Trustee.


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         6.4    Corporate Action. This Plan will be administered by the Liquidating Trustee and
all actions taken under this Plan in the name of the Debtors shall be taken through the Liquidating
Trustee. On the Effective Date, (a) the matters under this Plan involving or requiring corporate
action of the Debtors or their subsidiaries, including, but not limited to, actions requiring a vote
or other approval of the board of directors or shareholders and execution of all documentation
incident to this Plan, shall be deemed to have been authorized by the Confirmation Order and
to have occurred and be in effect from and after the Effective Date without any further action
by the Bankruptcy Court or the officers or directors of the Debtors or their subsidiaries, and
(b) the officers, directors, members, managers or any other Person exercising control over
the affairs of the Debtors shall immediately cease to serve and be terminated and such
authority shall be vested solely with the Liquidating Trustee without any further action by the
Bankruptcy Court or the officers or directors of the Debtors or their subsidiaries.

        6.5    Resignation of Directors and Officers. Upon the Effective Date, the Debtors’
officers, directors, members, managers or any other Person exercising control over the affairs
of the Debtors shall be deemed to have resigned without the necessity of any further action or
writing, and they shall be released from responsibilities, duties, and obligations arising after the
Effective Date to the Debtors or their Creditors under this Plan and applicable law.

        6.6     Dissolution of the Debtors. On and after the Effective Date, the Liquidating
Trustee shall be authorized to take all actions reasonably necessary to dissolve the Debtors and
their subsidiaries under applicable laws, including the laws of the jurisdictions in which they may
be organized or registered, and to pay all reasonable costs and expenses in connection with such
dissolutions, including the costs of preparing or Filing any necessary paperwork or
documentation.

        6.7     Dissolution of the Creditors’ Committee. On the Effective Date, the Creditors’
Committee shall dissolve automatically, whereupon its members, Professionals and agents shall
be released from any further duties and responsibilities in the Chapter 11 Cases and under the
Bankruptcy Code, except that (i) such parties shall continue to be bound by any obligations arising
under confidentiality agreements, joint defense/common interest agreements (whether formal or
informal), and protective orders entered during the Chapter 11 Cases, which shall remain in full
force and effect according to their terms; and (ii) the Creditors’ Committee shall continue to exist
solely for the purpose of prosecuting objections to applications for the Allowance of Professional
Compensation Claims.

        6.8    Cancellation of Interests. On the Effective Date, all Equity Interests (including,
without limitation, all promissory notes, stock, instruments, warrants, certificates and other
documents evidencing any interest in the Debtors) shall be deemed automatically cancelled and
surrendered and shall be of no further force, and the obligations of the Debtors thereunder or in
any way related thereto, including any obligation of the Debtors to pay any franchise or similar
type taxes on account of such Equity Interests, shall be discharged.

        6.9     Confidentiality, Privilege. On and after the Effective Date, any confidentiality
obligations, attorney-client privilege or other privilege or immunity attaching to any documents or
communications shall vest in the Liquidation Trust and its representatives, and the Liquidating
Trustee and its representatives shall not otherwise waive such confidentiality, privilege, or

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immunity without prior notice and a hearing before the Bankruptcy Court. The Debtors are
authorized to take all actions they deem necessary to effectuate the transfer of such privilege, and
any documents or communications that would otherwise be protected from discovery by virtue of
any applicable privilege or immunity shall remain so protected. The Confirmation Order shall
provide that the Liquidating Trustee's receipt of transferred privileges shall be without waiver in
recognition of the joint and/or successorship interest in prosecuting claims on behalf of the
Debtors’ Estates. If any privileged documents are inadvertently produced to third parties, such
production shall not be deemed to destroy any privilege or be deemed a waiver of any
confidentiality protections afforded to such privileged documents.

                                                 ARTICLE 7

                                DISTRIBUTIONS UNDER THIS PLAN

        7.1      Generally. The Liquidating Trustee shall apply the Liquidating Trust Assets only
in accordance with this Plan and the Liquidating Trust Agreement. The Liquidating Trustee shall
make all Distributions provided for in this Plan from the Liquidating Trust Assets, including those
to be paid on the Effective Date. The Liquidating Trustee shall not be required to seek approval
of the Bankruptcy Court or any other court with respect to the administration of the Liquidating
Trust, or as a condition to making any payment or Distribution out of the Liquidating Trust Assets;
provided, however, that, with respect to any Distribution from any “disputed ownership fund” that
the Liquidating Trustee may establish under § 1.468B-9(c)(2)(ii) of the Treasury Regulations, the
Liquidating Trustee shall obtain Bankruptcy Court approval to the extent necessary to comply with
the requirements of such Treasury Regulation. All Distributions and the Reserves described in
this Article 7 shall be managed by the Liquidating Trustee in a manner that accounts for the priority
of Distributions described in § 7.2, below.

           7.2      Priority of Distributions.

                 7.2.1 Distribution of Cash. Cash available for Distributions pursuant to this Plan
shall, subject to the terms of this Plan and the Liquidating Trust Agreement, be paid to Holders of
Allowed Claims or allocated to the Reserves established by the Liquidating Trustee in the
following order of priority:

           First,          to all Holders of Allowed Administrative Expense Claims, Allowed Priority
                           Tax Claims and Allowed Priority Claims, and to allocate to the Disputed
                           Claims Reserve and Administrative and Priority Claims Reserve as
                           provided for in §§ 7.4.2 and 7.4.3 of this Plan; and

           Second,         to outstanding Liquidating Trust Expenses, and to allocate to the
                           Liquidating Trust Expense Reserve as provided for in § 7.4.1 of this Plan.

               7.2.2 Distribution of Net Distributable Assets. Thereafter, all Net Distributable
Assets shall be paid Pro Rata to all Holders of Allowed Unsecured Claims on an interim and final
basis in accordance with §§ 7.3.2 and 7.3.3 of this Plan.



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           7.3      Timing of Distributions.

               7.3.1 Distributions on Allowed Administrative Expense Claims, Priority Tax
Claims, and Priority Claims. Except as otherwise provided in this Plan, each Holder of an
Allowed Administrative Expense Claim, Allowed Priority Tax Claim and Allowed Priority Claim
against any Debtor shall be entitled to a Distribution of Cash from the Liquidating Trust Assets as
soon as practicable after the later of (a) the Effective Date and (b) the date upon which any such
Claim becomes an Allowed Claim.

                7.3.2 Interim Distributions on Allowed Unsecured Claims. Holders of
Allowed Unsecured Claims shall be entitled to an initial Distribution from the Net Distributable
Assets in an amount to be determined by the Liquidating Trustee (but, in any event, no more than
each such Holder’s Pro Rata Share) and may also receive subsequent Distributions from the Net
Distributable Assets on account of each such Holder’s Allowed Unsecured Claim; provided that
any such Distribution must be warranted, economical and not unduly burdensome to the
Liquidating Trust; and, provided further, the Liquidating Trustee has allocated adequate funds to
the Reserves, as applicable, and the Reserves will remain adequate after any such interim
Distribution is made.

                7.3.3 Final Distributions on Allowed Unsecured Claims. After (a) the payment
of all Liquidating Trust Expenses, Administrative Expense Claims, Priority Tax Claims and
Priority Claims, (b) the prosecution, settlement, or abandonment of all Causes of Action, (c) the
allowance or disallowance of all Claims against the Estates, and (d) the liquidation or abandonment
of all other Liquidating Trust Assets, the Holders of all Allowed Unsecured Claims shall be entitled
to a Pro Rata Distribution of all remaining Net Distributable Assets pursuant to the terms of this
Plan and the Liquidating Trust Agreement, until the earlier of: (y) all such Allowed Unsecured
Claims are paid in full and (z) the Net Distributable Assets are exhausted.

           7.4      Reserves.

                7.4.1 Liquidating Trust Expense Reserve. On the Effective Date, the
Liquidating Trustee shall establish the Liquidating Trust Expense Reserve to ensure that the
Liquidating Trust will have sufficient funds to pay certain Liquidating Trust Expenses that may
arise from time to time in connection with the administration of the Liquidating Trust. The initial
amount of the Liquidating Trust Expense Reserve shall be estimated and funded in accordance
with § 3.4 of the Liquidating Trust Agreement.

                7.4.2 Disputed Claims Reserve. In addition to the Liquidating Trust Expense
Reserve, the Liquidating Trustee shall establish a Disputed Claims Reserve. The Disputed Claims
Reserve shall be for the payment of any Disputed Claim, to the extent such Disputed Claim
becomes an Allowed Claim against the Debtors. The amount set aside in the Disputed Claims
Reserve for any such Disputed Claim shall be the amount that would be distributed on account of
such Claim if it were an Allowed Claim in the lower of: (a) (i) the amount set forth in the Proof of
Claim Filed by the Holder of such Claim, or (ii) if no Proof of Claim has been Filed, the Scheduled
amount set forth for such Claim if it is shown on the Schedules as being noncontingent, liquidated,
and undisputed; and (b) the estimated amount of such Claim for Distribution purposes, as
determined by the Bankruptcy Court pursuant to § 8.5 of this Plan.

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               7.4.3 Administrative and Priority Claims Reserve. In addition to the
Liquidating Trust Expense Reserve and the Disputed Claims Reserve, the Liquidating Trustee shall
establish an Administrative and Priority Claims Reserve. The Administrative and Priority Claims
Reserve shall be for the payment of all Administrative Expense Claims, Priority Claims, and
Priority Tax Claims that are Allowed but unpaid, regardless of whether such Claim is Allowed
(but unpaid) before, on, or after the Effective Date. The amount of the Administrative and Priority
Claims Reserve shall be based on the Liquidating Trustee’s good faith estimate of the amount
necessary to pay all present and anticipated Allowed Administrative Expense Claims, Priority
Claims, and Priority Tax Claims against the Debtors. Notwithstanding anything to the contrary in
the foregoing, funding for all Administrative Expense Claims, Priority Claims, and Priority Tax
Claims that are Disputed shall be allocated pursuant to § 7.4.2 of this Plan.

       7.5     Cancellation of Equity Interests. On the Effective Date, all Equity Interests,
including all promissory notes, stock, instruments, warrants, certificates and other documents
evidencing any PRXI Equity Interest or Subsidiary Equity Interest shall be deemed automatically
cancelled and surrendered.

       7.6     Manner or Distribution. Notwithstanding any other provisions of this Plan or the
Liquidating Trust Agreement providing for a Distribution or payment in Cash, at the option of the
Liquidating Trustee, any Distributions under this Plan may be made either in Cash, by check drawn
on a domestic bank, by wire transfer, or by ACH. Notwithstanding any other provisions of this
Plan to the contrary, no payment of fractional cents will be made under this Plan. Any Cash
Distributions or payments will be issued to Holders of Allowed Claims in whole cents (rounded to
the nearest whole cent when and as necessary).

        7.7     Delivery of Distributions. Except as otherwise provided in this Plan, Distributions
to Holders of Allowed Claims shall be made by the Debtors, if before the Effective Date, or the
Liquidating Trustee, if on or after the Effective Date, (i) at the addresses set forth on any Proof of
Claim or Filed by such Holder (or at the last known address of such Holder if no motion requesting
payment or Proof of Claim or is Filed or the Debtors or the Liquidating Trustee have been notified
in writing of a change of address), (ii) at the addresses set forth in any written notices of address
changes Filed with the Bankruptcy Court and served on the Liquidating Trustee by such Holder
after the date of any related Proof of Claim, or (iii) at the addresses reflected in the Schedules if
no Proof of Claim has been Filed and no written notice of address change has been Filed by such
Holder with the Bankruptcy Court and served on the Liquidating Trustee.

        7.8      Undeliverable Distributions. If any Distribution or other payment to the Holder
of an Allowed Claim under this Plan is returned for lack of a current address for the Holder or
otherwise (as such, an “Undeliverable Distribution”), the Liquidating Trustee shall file with the
Bankruptcy Court the name, if known, and last known address of the Holder and the reason for
its inability to make payment. If, after the passage of 90 days, the attempted Distribution remains
an Undeliverable Distribution, the Liquidating Trustee shall distribute to the Holders of
Allowed Claims in the appropriate Class the amount of the Undeliverable Distribution, and the
Allowed Claim giving rise to the Undeliverable Distribution shall be deemed satisfied and
released, with no recourse to the Liquidating Trust, the Liquidating Trustee or the Liquidating
Trust Assets, to the same extent as if the Undeliverable Distribution had been made to the
corresponding Holder of the Allowed Claim.

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        7.9     Setoffs and Recoupments. The Debtors, if before the Effective Date, or the
Liquidating Trustee, if on or after the Effective Date, may, to the extent permitted by Section 558
of the Bankruptcy Code or applicable non-bankruptcy law, but shall not be required to, set off
against or recoup from any Claim on which payments or Distributions are to be made pursuant
to this Plan, any Causes of Action of any nature whatsoever that the Debtors, the Estates, or the
Liquidating Trust may have against the Holder of such Claim; provided, however, that neither
the failure to effect such offset or recoupment nor the allowance of any Claim shall constitute a
waiver or release by the Debtors, the Estates, or the Liquidating Trust of any right of setoff or
recoupment that the Debtors, the Liquidating Trust or the Estates may have against the Holder
of such Claim, nor of any other Cause of Action.

        7.10 Distributions in Satisfaction; Allocation. Except for the obligations expressly
imposed by this Plan and the property and rights expressly retained under this Plan, if any, the
Distributions and rights that are provided in this Plan shall be in complete satisfaction and release
of all Claims against, Liabilities in, Liens on, obligations of and Interests in the Debtors, their
Estates, the Liquidating Trust, or the Liquidating Trust Assets, whether known or unknown, that
arose or existed prior to the Effective Date.

        7.11 No Distribution in Excess of Allowed Amount of Claim. Notwithstanding anything
to the contrary contained in this Plan, no Holder of an Allowed Claim shall receive in respect of
that Claim any Distribution in excess of the Allowed amount of that Claim.

        7.12 No Interest on Claims. Unless otherwise specifically provided for in this Plan,
postpetition interest shall not accrue or be paid on any Claim, and no Holder of a Claim shall be
entitled to interest accruing on or after the Petition Date on any Claim. In addition, and without
limiting the foregoing or any other provision of this Plan, Confirmation Order or Liquidating Trust
Agreement, interest shall not accrue on or be paid on any Disputed Claim in respect of the period
from the Effective Date to the date a final Distribution is made when and if such Disputed Claim
becomes an Allowed Claim.

        7.13 Withholding Taxes. The Debtors, if before the Effective Date, and the Liquidating
Trustee, if on or after the Effective Date, shall be entitled to deduct any federal, state or local
withholding taxes from any payments or Distributions under this Plan. As a condition to making
any Distribution under this Plan, the Debtors, if before the Effective Date, and the Liquidating
Trustee, if on or after the Effective Date, may require that the Holder of an Allowed Claim provide
such Holder’s taxpayer identification number and such other information and certification as may
be deemed necessary for the Debtors, if before the Effective Date, and the Liquidating Trustee, if
on or after the Effective Date, to comply with applicable tax reporting and withholding laws.
Failure of a Holder of any Allowed Claim to provide such Holder’s taxpayer identification number
and such other information and certification may result in forfeiture of such Holder’s right to
Distributions in respect of its Claim.




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                                           ARTICLE 8

                 PROCEDURES FOR RESOLVING DISPUTED CLAIMS

       8.1     No Distributions on Disputed Claims. Notwithstanding any other provisions of this
Plan, no payments or Distributions shall be made on account of a Disputed Claim until and unless
such Claim becomes an Allowed Claim. In lieu of Distributions under this Plan to Holders of
Disputed Claims, a Disputed Claims Reserve shall be maintained by the Liquidating Trustee for
payment of any Disputed Claim which becomes an Allowed Claim. Distributions on account of
any Disputed Claim that has become an Allowed Claim shall be made within the time periods
provided above in Article 7 of this Plan, or as soon as is reasonably practicable following
allowance of the Claim.

       8.2      Proof of Claim Filed for Scheduled Claim. As set forth in Bankruptcy Rule
3003(c)(4), if a Proof of Claim is filed by any Creditor asserting a Claim for the same obligation
which had previously been listed for such Creditor by the Debtors on the Schedules, then the
Scheduled Claim shall be deemed a Disallowed Claim without the need for the Debtors, the
Liquidating Trustee or any party in interest to file an objection to such Scheduled Claim. The
Claim asserted in the Proof of Claim shall be deemed to replace such Scheduled Claim and shall
ultimately become an Allowed Claim, a Disputed Claim or a Disallowed Claim pursuant to the
procedures set forth in this Plan.

         8.3     Resolution of Claims under Materiality Threshold. Subsequent to the Effective
Date, the Liquidating Trustee shall have the authority to settle and resolve a Disputed Claim that
was originally asserted in an amount equal to or less than $250,000.00 upon such terms and
conditions as the Liquidating Trustee deems appropriate and in the best interests of the Estates.
Any such compromise and settlement shall be deemed final and binding upon all parties in interest
in the Chapter 11 Cases. The Liquidating Trustee shall not have any obligation to provide notice
to or file and serve pleadings upon any such parties in interest, and shall not have any requirement
to obtain Court approval, in connection with compromising, settling, or otherwise resolving these
Claims.

        8.4      Resolution of Claims above Materiality Threshold. With respect to any Disputed
Claim that was originally asserted in an amount that exceeds $250,000.00, the Liquidating Trustee
shall have the authority to compromise and settle any such Claim on such terms as the Liquidating
Trustee deems appropriate and in the best interests of the Estates, subject to the approval of the
Liquidating Trust Oversight Committee pursuant to § 6.3.3 of this Plan, by providing Designated
Notice of any such proposed compromise and a reasonable opportunity to object thereto. If a party
in interest files a written objection with the Court in the Chapter 11 Cases with respect to any
proposed compromise of any Disputed Claim, and serves a copy of said objection upon the
Liquidating Trustee and his or her counsel, within twenty-one (21) days from the service of
Designated Notice of the proposed compromise, then the Court shall schedule a hearing with
respect to said objection. If no objection is timely filed and served, the Liquidating Trustee may
compromise and settle any Disputed Claim without further authorization. The Liquidating Trustee
may file motions which seek to compromise more than one Claim.



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        8.5    Estimation of Claims. The Debtors, if before the Effective Date, and the
Liquidating Trustee, if on or after the Effective Date, may request that the Bankruptcy Court
estimate any Contingent or unliquidated Claim to the extent permitted by Section 502(c) of the
Bankruptcy Code regardless of whether the Debtors or the Liquidating Trustee have previously
objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall have jurisdiction to estimate any Claim at any time during litigation
concerning any objection to such Claim, including during the pendency of any appeal relating to
any such objection. If the Bankruptcy Court estimates any Contingent or unliquidated Claim, that
estimated amount shall constitute either the Allowed amount of such Claim or a maximum
limitation on the Claim, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on the Claim, the Liquidating Trustee may elect to object to the
ultimate allowance of the Claim or seek to reduce and allow the Claim (as reduced). All of the
aforementioned Claims objection, estimation and resolution procedures are cumulative and not
exclusive of one another. Claims may be estimated and subsequently compromised, settled,
withdrawn or resolved by any mechanism approved by the Bankruptcy Court.

                                           ARTICLE 9

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        9.1      Rejection of Contracts and Leases. Subject to the exceptions set forth in Section
9.2, below, on and after the Effective Date, each Executory Contract and Unexpired Lease entered
into by the Debtors prior to the Petition Date that has not previously expired or terminated pursuant
to its own terms will be deemed rejected pursuant to Section 365 of the Bankruptcy Code, and
written notice will be provided to each such counterparty of such deemed rejected contract or lease
(together with a statement of the date by which any Proof of Claim must be filed). Each such
contract and lease will be rejected only to the extent that any such contract or lease constitutes an
Executory Contract or Unexpired Lease. The entry of the Confirmation Order by the Bankruptcy
Court shall constitute approval of any such rejections pursuant to Sections 365(a) and 1123 of the
Bankruptcy Code and that the rejection thereof is in the best interest of the Debtors, their Estates
and all parties in interest in the Chapter 11 Cases.

        9.2     Exceptions to Rejection. The following Executory Contracts and Unexpired Leases
shall not be rejected pursuant to this Plan: all Executory Contracts and Unexpired Leases that the
Debtors either (i) previously assumed, and/or assumed and assigned (specifically including, but
not limited to, the contracts and leases set forth on Exhibit A of the Notice of Assumption and
Assignment of Executory Contract or Unexpired Lease [Docket No. 1323]), or (ii) rejected, each
as provided for by an order of the Bankruptcy Court.

        9.3     Rejection Claims. Claims created by the rejection of Executory Contracts and
Unexpired Leases pursuant to § 9.1 of this Plan, or the expiration or termination of any Executory
Contract or Unexpired Lease prior to the Effective Date (collectively, “Rejection Claims”), must
be filed with the Bankruptcy Court and served on the Liquidating Trustee no later than thirty (30)
days after the Effective Date (the “Rejection Objection Deadline”).

            9.3.1 Timely Filed Rejection Claims. Unless otherwise ordered by the
Bankruptcy Court, all Rejection Claims that are filed on or before the Rejection Objection

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Deadline shall be treated as Unsecured Claims under this Plan and shall be subject to the provisions
of Article 4 of this Plan.

               9.3.2 Tardy Rejection Claims. All Rejection Claims that are filed after the
Rejection Objection Deadline (or not filed at all) shall be deemed Disallowed without the need for
any action or formal objection by the Liquidating Trustee or any other party in interest, and shall
be forever barred from assertion against the Debtors, their Estates, the Liquidating Trust, and the
Liquidating Trust Assets, unless otherwise ordered by the Bankruptcy Court or provided herein.

               9.3.3 Employment Agreements and Benefit Programs

                        (a)     Employment Agreements. Except to the extent previously rejected
by Final Order of the Bankruptcy Court on or before the Effective Date, all employment and
severance agreements between the Debtors and their employees entered into before or after the
Petition Date and not since terminated, shall be deemed to be, and shall be treated as though they
are, Executory Contracts that are rejected under § 9.1 of the Plan. Any Claim arising out of such
rejection shall be treated in accordance with § 9.3 of the Plan.

                       (b)    Employee Benefit Plans. Except and to the extent previously
rejected by Final Order of the Bankruptcy Court on or before the Effective Date, all Employee
Benefit Plans entered into before or after the Petition Date and not since terminated, shall be
deemed to be, and shall be treated as though they are, Executory Contracts that are rejected under
§ 9.1 of the Plan. Any Claim arising out of such rejection shall be treated in accordance with § 9.3
of the Plan.

                                          ARTICLE 10

                  PLAN INJUNCTION, EXCULPATION, AND RELEASE

       10.1 Plan Injunction. Except as otherwise expressly provided in this Plan, the Plan
Supplement, documents executed pursuant to this Plan, or the Confirmation Order, on and
after the Effective Date, all Persons who have held, currently hold, or may hold Claims
against or Interests in the Debtors or the Estates that arose prior to the Effective Date
(including all Governmental Units) shall be permanently enjoined from, on account of such
Claims or Interests, taking any of the following actions, either directly or indirectly, against
or with respect to any Debtor, any Estate, the Exculpated Parties, the Liquidating Trust, the
Liquidating Trustee, or any of their respective properties or assets: (i) commencing or
continuing in any manner any action or other proceeding of any kind; (ii) enforcing,
executing, collecting, or recovering in any manner any judgment, award, decree, or order,
or attaching any property pursuant to the foregoing; (iii) creating, perfecting, or enforcing
any Lien or encumbrance of any kind; (iv) asserting or effecting any setoff, recoupment, or
right of subrogation of any kind against any Claim or Cause of Action; (v) enjoining or
invalidating any foreclosure or other conveyance of any Property of the Liquidating Trust
or of the Debtors; (vi) interfering with or in any manner whatsoever disturbing the rights
and remedies of the Liquidating Trust, the Debtors or the Estates under this Plan and the
Plan documents and the other documents executed in connection therewith; and (vii) taking
any act, in any manner, in any place whatsoever, that does not conform to, comply with, or

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that is inconsistent with any provision of this Plan. This injunction shall not enjoin or
prohibit (i) the holder of a Disputed Claim from litigating its right to seek to have such
Disputed Claim declared an Allowed Claim and paid in accordance with the Distribution
provisions of this Plan or (ii) any party in interest from seeking the interpretation or
enforcement of any of the obligations of the Debtors, the Liquidating Trustee, or the
Liquidating Trust under this Plan. The Liquidating Trustee shall have the right to
independently seek enforcement of this Plan Injunction provision. This Plan Injunction
provision is an integral part of this Plan and is essential to its implementation.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, principals, and direct
and indirect affiliates shall be enjoined from taking any actions to interfere with the
implementation or consummation of the Plan. Each Holder of an Allowed Claim, by
accepting, or being eligible to accept, Distributions under such Claim, as applicable,
pursuant to the Plan, shall be deemed to have consented to the injunction provisions set forth
in this Article X of the Plan.

        10.2 Exculpation from Liability. Effective as of the Effective Date, to the fullest
extent permissible under applicable law and notwithstanding anything herein to the
contrary, the Debtors, their current and former officers and directors, and the Debtors’
Professionals (acting in such capacity) and the members of the Creditors’ Committee and
the Creditors’ Committee’s Professionals (acting in such capacity) (the foregoing collectively
referred to herein as the “Exculpated Parties”) are hereby released and exculpated from any
Claim, obligation, Cause of Action, or liability of any kind whatsoever, whether liquidated
or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen
or unforeseen, then existing or thereafter arising, in law or in equity, for any action taken or
omitted to be taken, in connection with or related to the formulation, preparation,
dissemination, or confirmation of this Plan, including solicitation of acceptances thereto, the
Disclosure Statement, any Plan Supplement, or any contract, instrument, release, or other
agreement or document created or entered into, including without limitation the Purchase
Agreement, or any other act taken or omitted from being taken, in connection with the Sale,
this Plan or these Chapter 11 Cases, including but not limited to the commencement and
administration of these Chapter 11 Cases, the sale of assets, the arranging for post-petition
financing, the prosecution and defense of contested matters and adversary proceedings, the
settlement of Claims, and the disbursement of funds (including, for the avoidance of doubt,
providing any legal opinion requested by any Person regarding any transaction, contract,
instrument, document, or other agreement contemplated by the Plan or the reliance by any
Exculpated Party on the Plan or the Confirmation Order in lieu of such legal opinion), or
any other post-petition act taken or omitted to be taken in connection with or in
contemplation of the restructuring or liquidation of the Debtors, in each case except for
actual fraud, willful misconduct, or gross negligence in connection with the Plan or the
Chapter 11 Cases, each solely to the extent as determined by a Final Order of a court of
competent jurisdiction; provided, however, that in all respects the Exculpated Parties shall be
entitled to reasonably rely upon the advice of counsel and financial advisors with respect to
their duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and
upon completion of the Plan shall be deemed to have, participated in good faith and in
compliance with the applicable laws with regard to the restructuring of Claims and Interests
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in the Chapter 11 Cases and in connection with the transactions contemplated herein,
including the Sale, the negotiation, formulation, or preparation of the agreements,
instruments, or other documents pursuant to the Plan or the Sale, and the solicitation and
distribution of the Plan and, therefore, are not, and on account of such distributions shall
not be, liable at any time for the violation of any applicable law, rule, or regulation governing
the solicitation of acceptances or rejections of the Plan or such distributions made pursuant
to the Plan. Notwithstanding the foregoing, this exculpation shall not release any obligation
or liability of any party under the Plan or any document, instrument, or agreement
(including those set forth in any Plan Supplement) executed to implement the Plan. In
furtherance of the foregoing, the Exculpated Parties shall have the fullest protection afforded
under Section 1125(e) of the Bankruptcy Code and all applicable law from liability for
violation of any applicable law, rule or regulation governing the solicitation of acceptance or
rejection of a Plan or the offer, issuance, sale or purchase of securities. This Exculpation
from Liability provision is an integral part of this Plan and is essential to its implementation.

        10.3 Preservation of Insurance. Except as otherwise provided herein, the Debtors’
discharge and release from all Claims as provided herein, except as necessary to be consistent with
this Plan, shall not diminish or impair the enforceability of any insurance policy that may cover
Claims against the Debtors, including its officers and current and former directors, or any other
Person.

        10.4 Continuation of Automatic Stay. The automatic stay arising out of Section 362(a)
of the Bankruptcy Code shall continue in full force and effect pursuant to Section 362(c)(2) of the
Bankruptcy Code. The Court shall have the power to grant such additional and supplemental stays
as may be necessary or appropriate to protect and preserve the Assets of the Debtors, the Estates
and/or the Liquidating Trust or to permit the just and orderly administration of the Estates.

       10.5 Binding Effect of Plan. Except as otherwise provided in Section 1141(d)(3) of the
Bankruptcy Code, on and after the Confirmation Date, subject to the occurrence of the Effective
Date, the provisions of this Plan shall bind any Holder of a Claim against, or Interest in, the
Debtors, the Estates and their respective successors or assigns, whether or not the Claim or Interest
of such Holder is Impaired under this Plan, whether or not such Holder has accepted this Plan and
whether or not the Holder has Filed a Claim.

         10.6 No Liability for Tax Claims. Unless a taxing Governmental Authority has asserted
a Claim against the Debtors before the Bar Date or Administrative Expense Claim Bar Date
established therefore, no Claim of such Governmental Authority shall be Allowed against the
Debtors, the Estates, the Liquidation Trust, the Liquidating Trustee, or their directors, officers,
employees or agents for Taxes, penalties, interest, additions to tax or other charges arising out of
(a) the failure, if any, of the Debtors, or any other Person or Entity to have paid tax or to have filed
any tax return (including any income tax return or franchise tax return) in or for any prior year or
period, or (b) an audit of any return for a period before the Petition Date. The entry of the
Confirmation Order shall be deemed to be a determination that no provision of this Plan has
avoidance of Taxes as a principal purpose, and the Confirmation Order shall so provide.

      10.7 No Liability for Untimely Administrative Expense Claims.                Holders of
Administrative Expense Claims (including Holders of any Claims for Post-petition Taxes) that do

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not file an application or other Bankruptcy Court-approved pleading by the Administrative
Expense Claims Bar Date will be forever barred from asserting such Administrative Expense
Claims against the Debtors, the Estates, the Liquidating Trust, or any of their respective Property.

        10.8 Regulatory or Enforcement Actions. Nothing in this Plan shall restrict any federal
government regulatory agency from pursuing any regulatory or police enforcement action or
performing its statutory duties against any Person or Entity in any forum, but only to the extent
not prohibited by the automatic stay of Section 362 of the Bankruptcy Code or discharged or
enjoined pursuant to Section 524 or 1141(d) of the Bankruptcy Code. Nothing contained in this §
10.8 is intended to, nor shall it, supersede or alter any applicable provisions of the Bankruptcy
Code.

                                            ARTICLE 11

                               MODIFICATION OF THIS PLAN

        11.1 Preconfirmation Amendment. The Debtors reserve the right, pursuant to Section
1127(a) of the Bankruptcy Code, to amend or modify this Plan prior to the Confirmation of this
Plan. This Plan may be modified, without notice or hearing, or on such notice and hearing as the
Court deems appropriate, if the Court finds that the proposed modification does not materially and
adversely affect the rights of any parties in interest which have not had notice and an opportunity
to be heard with regard to the proposed modification. Without limiting the foregoing, this Plan
otherwise may be modified after notice and hearing. In the event of modification at or before
Confirmation, any votes in favor of this Plan shall be deemed to be votes in favor of this Plan as
modified, unless the Court finds that the proposed modification materially and adversely affects
the rights of the parties in interest that cast such votes.

       11.2 Post-Confirmation Amendment Not Requiring Resolicitation. After the entry of
the Confirmation Order, the Debtors may modify this Plan to remedy any defect or omission or to
reconcile any inconsistencies in this Plan or in the Confirmation Order, as may be necessary to
carry out the purposes and effects of this Plan, provided (i) the Debtors obtain approval of the
Bankruptcy Court for such modification, after notice and a hearing, and (ii) such modification shall
not materially and adversely affect the interests, rights, or treatment, of any Class under this Plan.

        11.3 Post-Confirmation Amendment Requiring Resolicitation. After the Confirmation
Date and before the Effective Date of this Plan, the Debtors may modify this Plan in a way that
materially or adversely affects the interests, rights, treatment, or Distributions of a class of Claims,
provided: (i) the modified Plan meets applicable Bankruptcy Code requirements; (ii) the Debtors
obtain Bankruptcy Court approval for such modification, after notice to all Creditors entitled to
receive notice pursuant to the Bankruptcy Code and the Bankruptcy Rules and a hearing; (iii) such
modification is accepted by at least two-thirds in amount, and more than one-half in number, of
Allowed Claims voting in each Class affected by such modification; and (iv) the Debtors comply
with Section 1125 of the Bankruptcy Code with respect to the modified Plan.




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                                           ARTICLE 12

                               RETENTION OF JURISDICTION

        12.1 Notwithstanding Confirmation of this Plan or occurrence of the Effective Date, the
Bankruptcy Court shall retain jurisdiction and authority for all purposes permitted under applicable
law, including, without limitation, for the following purposes:

                      (a)    to determine any motion, adversary proceeding, Avoidance Action,
application, contested matter, or other litigated matter pending on or commenced after the
Confirmation Date;

                     (b)    to hear and determine applications for the assumption or rejection of
Executory Contracts or Unexpired Leases and the allowance, estimation, or payment of Rejection
Claims and Cure Amounts resulting therefrom;

                       (c)     to ensure that Distributions to Holders of Allowed Claims are
accomplished as provided herein and to adjudicate any and all disputes arising from or relating to
Distributions under this Plan;

                      (d)     to hear and determine objections to the allowance of Claims,
whether Filed, asserted, or made before or after the Effective Date, including, without limitation,
to hear and determine objections to the classification of Claims and the allowance or disallowance
of Disputed Claims, in whole or in part;

                        (e)    to consider Claims or the allowance, classification, priority,
compromise, estimation, or payment of any Claim; provided, however, that the District Court shall
have jurisdiction to estimate any Claim that cannot be estimated by the Bankruptcy Court;

                      (f)    to enter, implement, or enforce such orders as may be appropriate in
the event the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                        (g)     to determine any matter (other than those matters that are subject to
the exclusive jurisdiction of the United States District Court for the Eastern District of Virginia in
the admiralty action styled R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, Case No.
2:93-cv-902, including, but not limited to, the Admiralty Order) (i) under the Purchase Agreement;
(ii) in connection with the Sale Transaction; or (iii) the Sale Order;

                      (h)    to issue injunctions, enter and implement other orders, and take such
other actions as may be necessary or appropriate to restrain interference by any Person with the
consummation, implementation, or enforcement of this Plan, the Confirmation Order, or any other
order of the Bankruptcy Court;

                       (i)    to hear and determine any application to modify this Plan in
accordance with Section 1127 of the Bankruptcy Code, to remedy any defect or omission or
reconcile any inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy
Court, including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;
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                       (j)     to hear and determine all Professional Compensation Claims;

                       (k)    to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Plan Supplement, the Confirmation
Order or any transactions or payments contemplated hereby or thereby, or any agreement,
instrument, or other document governing or relating to any of the foregoing;

                        (l)    to take any action and issue such orders as may be necessary to
construe, enforce, implement, execute, and consummate this Plan and the Liquidating Trust
Agreement, including any release or injunction provisions set forth herein, or to maintain the
integrity of this Plan following consummation;

                      (m)    to determine such other matters and for such other purposes as may
be provided in the Confirmation Order;

                      (n)    to hear and determine matters concerning Taxes in accordance with
Sections 346, 505, and 1146 of the Bankruptcy Code;

                       (o)     to enter a Final Decree closing the Chapter 11 Cases;

                       (p)    to recover all Assets of the Debtors and the Liquidating Trust, and
Property of the Estates, wherever located;

                       (q)     to hear and determine any rights, Claims, or Causes of Action held
by or accruing to the Debtors and/or the Liquidating Trust pursuant to the Bankruptcy Code or
pursuant to any statute or legal theory;

                      (r)   to hear and determine any matters for which jurisdiction was
retained by the Bankruptcy Court pursuant to prior orders; and

                      (s)    to hear and determine any other matters related hereto and not
inconsistent with the Bankruptcy Code, title 28 of the United States Code, and other applicable
law.

        12.2 Courts of Competent Jurisdiction. If the Bankruptcy Court abstains from
exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any matter
arising out of this Plan, such abstention, refusal, or failure of jurisdiction shall have no effect upon
and shall not control, prohibit, or limit the exercise of jurisdiction by any other court having
competent jurisdiction with respect to such matter.

                                            ARTICLE 13

              CONDITIONS TO CONFIRMATION AND EFFECTIVE DATE

      13.1 Condition Precedent to Confirmation. This Plan may not be confirmed unless the
Confirmation Order is entered in a form reasonably acceptable to the Debtors and provides for,
among other things, the limited consolidation of the Debtors in accordance with § 6.1, above.


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        13.2 Conditions Precedent to Occurrence of Effective Date. The Effective Date for this
Plan may not occur unless each of the conditions set forth below is satisfied. Any one or more of
the following conditions may be waived in whole or in part at any time by the Debtors:

                        (a)    The Bankruptcy Court shall have entered the Confirmation Order
and it shall not have been stayed, modified, or vacated on appeal;

                      (b)    The Confirmation Order shall provide for the releases, injunctions,
and exculpation of the Persons provided for by this Plan in Article 10;

                       (c)    Mark Healy or his designee shall have been appointed as
Liquidating Trustee and shall have accepted to act in such capacity in accordance with the terms
and conditions of this Plan;

                     (d)     All actions, documents, and agreements necessary to implement and
consummate this Plan shall have been affected or executed and binding on all parties thereto; and

                       (e)     All governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by this
Plan shall have been obtained, not be subject to unfilled conditions, and be in full force and effect,
and all applicable waiting periods shall have expired without any action being taken or threatened
by any competent authority that would restrain, prevent, or otherwise impose materially adverse
conditions on such transactions.

        13.3 Effect of Nonoccurrence of the Conditions Precedent to Occurrence of Effective
Date. If each of the conditions to the occurrence of the Effective Date has not been satisfied or
duly waived on or before the first Business Day after 90 days after the Confirmation Date, or by
such later date as is approved, after notice and a hearing, by the Bankruptcy Court, then upon
motion by any party in interest made before the time that each of the conditions has been satisfied
or duly waived, the Confirmation Order may be vacated by the Bankruptcy Court; provided,
however, that, notwithstanding the filing of such a motion, the Confirmation Order shall not be
vacated if each of the conditions to occurrence of the Effective Date is either satisfied or duly
waived before the Bankruptcy Court enters an order granting the relief requested in such motion.
If the Confirmation Order is vacated pursuant this Plan, then this Plan shall be null and void in all
respects, and nothing contained in this Plan shall (a) constitute a waiver or release of any claims
by or against the Debtors, or (b) prejudice in any manner the rights of the Debtors or of any other
party in interest.

                                           ARTICLE 14

                                       MISCELLANEOUS

        14.1 Objections to Claims. On and after the Effective Date, the Liquidating Trustee shall
have the exclusive right to make, file and prosecute objections to Disputed Claims (whether
scheduled or filed). All such objections shall be filed within one hundred eighty (180) days after
the Confirmation Date (the “Claims Objection Deadline”); however, the Liquidating Trustee may
seek extensions of this one hundred eighty (180) day period following Designated Notice. If a
party in interest files a written objection with the Bankruptcy Court with respect to any proposed
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extension of time and serves a copy of said objection upon the Liquidating Trustee, and his or her
counsel within ten (10) days from the service of Designated Notice of the proposed extension, then
the Bankruptcy Court shall schedule a hearing with respect to said objection and the deadline for
the Liquidating Trustee to object to Claims as authorized under this Plan, shall be deemed extended
through the conclusion of such hearing. If no objection is timely filed and served, the proposed
extension is granted without further authorization. The failure to object to any Claim prior to the
commencement of the hearing on Confirmation of this Plan shall not be deemed to be a waiver of
the right to object thereafter to such Claim in whole or in part for the purpose of Distribution.

         14.2 Further Actions. Pursuant to Bankruptcy Code Section 1142(b), the Confirmation
Order shall act and operate as an order of the Bankruptcy Court directing the Debtors, the
Liquidating Trustee and/or any other necessary parties to execute and deliver or join in the
execution and delivery of any instrument required to affect any transfer and to perform any other
act, including the satisfaction of any Lien, that is necessary for the consummation of this Plan. Any
transfer taxes arising from transfers of property ordered or made pursuant to this Plan shall be
treated in accordance with Section 1146 of the Bankruptcy Code.

        14.3 Governing Law. Except to the extent the Bankruptcy Code, Bankruptcy Rules, or
other federal laws apply, the laws of the State of Florida shall govern the rights and obligations
arising under this Plan, without giving effect to principles of conflicts of law of Florida.

        14.4 Continuing Effect of Sale Order and Admiralty Order. Notwithstanding anything
in this Plan to the contrary, the Sale Order and any and all related documents (including but not
limited to the Purchase Agreement) and Admiralty Order shall not be modified, limited, or
amended by this Plan.

       14.5 Waiver of Bankruptcy Rule 3020. The Debtors may request that the Confirmation
Order include (a) a finding that Bankruptcy Rule 3020(e) shall not apply to the Confirmation Order
and this Plan be immediately binding and enforceable; and (b) authorization for the Debtors to
consummate this Plan immediately after entry of the Confirmation Order.

        14.6 No Admissions. Notwithstanding anything herein to the contrary, nothing
contained in this Plan or the Disclosure Statement shall be deemed as an admission by any Person
with respect to any matter set forth herein.

        14.7 Successors and Assigns. The rights, benefits, and obligations of any Person named
or referred to in this Plan shall be binding upon, and shall inure to the benefit of, the heir, executor,
administrator, successor, or assign of such Person.

        14.8 Confirmation Order and Plan Control. To the extent the Confirmation Order and/or
this Plan is inconsistent with the Disclosure Statement, the Liquidation Trust Agreement, or any
other agreement entered into between the Debtors and any third party, this Plan shall control the
Disclosure Statement and any previous agreements and the Confirmation Order shall control this
Plan; provided, however, that neither this Plan nor the Confirmation Order shall alter, modify, or
otherwise affect the Purchase Agreement or the Sale Order.



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        14.9 Severability. Should any provision in this Plan be determined to be unenforceable,
such determination shall in no way limit or affect the enforceability and operative effect of any
other provision of this Plan.

       14.10 Headings. Headings are utilized in this Plan for the convenience of reference only
and shall not constitute a part of this Plan for any other purpose.

        14.11 Notice of Effective Date. Not later than five (5) Business Days following the
Effective Date, the Liquidating Trustee shall file a notice of the occurrence of the Effective Date
of this Plan in accordance with the Bankruptcy Rules and orders of the Bankruptcy Court.

       14.12 Notices. Any notice required or permitted to be provided under this Plan, unless
otherwise provided herein, shall be in writing and served by either (a) certified mail, return receipt
requested, postage prepaid, (b) hand delivery, or (c) overnight delivery service, postage prepaid,
and addressed as follows:

           To the Debtors: Premier Exhibitions, Inc., in care of Troutman Sanders LLP, 600
           Peachtree Street NE, Suite 3000, Atlanta, GA 30308, attention: Harris Winsberg and
           Matthew Brooks, Tel: (404) 885-3000, Fax: (404) 885-3900; with copies to Nelson Mullins
           Riley & Scarborough LLP, 50 N. Laura Street, Suite 4100, Jacksonville, FL 32202,
           attention: Daniel F. Blanks and Lee D. Wedekind, III, Tel: (904) 665-3656, Fax: (904) 665-
           3699.

           To the Creditors’ Committee: Official Committee of Unsecured Creditors of Premier
           Exhibitions, Inc. and its Debtor Affiliates, in care of Storch Amini PC, 140 East 45th Street,
           25th Floor, New York, NY 10017, attention: Jeffrey Chubak and Avery Samet, Tel: (212)
           490-4100, Fax: (212) 490-4208; with copies to Thames Markey & Heekin, P.A., 50 N.
           Laura Street, Suite 1600, Jacksonville, FL 32202, attention: Richard R. Thames and Robert
           A. Heekin, Jr., Tel: (904) 358-4000, Fax: (904) 358-4001.

         14.13 Post-Effective Date Notice. Pursuant to Bankruptcy Rule 2002 and any applicable
local Bankruptcy Rules, notice of all post-Effective Date matters for which notice is required to
be given shall be deemed sufficient if served upon the US Trustee’s Office, counsel to the
Liquidating Trustee, and any Creditor that has a direct pecuniary interest in the relief sought by
the pleading. With the exception of the US Trustee, any Person desiring to remain on the Debtors’
Bankruptcy Rule 2002 service list shall be required to file a request for continued service and to
serve such request upon counsel to the Liquidating Trustee. Parties who do not file a request for
continued service shall be removed from the Debtors’ Bankruptcy Rule 2002 service list upon the
Effective Date and shall be served with pleadings only where they have a direct pecuniary interest
in the relief sought by the pleading. Notice of the requirement to file a request for continued service
will be provided in the notice sent to all Creditors regarding the Confirmation of this Plan.

        14.14 Deemed Acts. Whenever an act or event is expressed under this Plan to have been
deemed done or to have occurred, it shall be deemed to have been done or to have occurred without
any further act by any party, by virtue of this Plan and the Confirmation Order.



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 PREMIER EXHIBITIONS, INC.                       PREMIER EXHIBITION
                                                 MANAGEMENT, LLC, by Premier
                                                 Exhibitions, Inc., its Managing Member



 By:_________________________________            By:_________________________________
 Name: Daoping Bao                               Name: Daoping Bao
 Title: President                                Title: President

 ARTS AND EXHIBITIONS                            PREMIER EXHIBITIONS
 INTERNATIONAL, LLC                              INTERNATIONAL, LLC, by Premier
                                                 Exhibitions, Inc., its Managing Member
 By Premier Exhibition Management, LLC,
 its Managing Member

 By Premier Exhibitions, Inc., its Managing
 Member



 By:_________________________________            By:_________________________________
 Name: Daoping Bao                               Name: Daoping Bao
 Title: President                                Title: President

 PREMIER EXHIBITIONS NYC, INC.                   PREMIER MERCHANDISING, LLC, by
                                                 Premier Exhibitions, Inc., its Managing
                                                 Member



 By:_________________________________            By:_________________________________
 Name: Daoping Bao                               Name: Daoping Bao
 Title: President                                Title: President

 DINOSAURS UNEARTHED CORP.


 By:_________________________________
 Name: Daoping Bao
 Title: President




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                  EXHIBIT A
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                            LIQUIDATING TRUST AGREEMENT


        This Liquidating Trust Agreement (this “Agreement”), dated as of _____ __, 2019, by and
among (a) Mark C. Healy of Michael Moecker & Associcates, Inc., not individually, but solely in
his capacity as the trustee for the liquidating trust established pursuant to this Agreement (such
person and each successor trustee, the “Liquidating Trustee”) and (b) Premier Exhibitions, Inc.,
on behalf of itself and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”),
is executed pursuant to the Plan of Liquidation of the Debtors under Chapter 11 of the Bankruptcy
Code [Docket No. •], dated _______ __, 2019 (as the same may have been amended, modified or
supplemented from time to time in accordance with the terms and provisions thereof, the “Plan”)
that provides for the establishment of the liquidating trust (the “Liquidating Trust”) created
hereby. Each of the Debtors and the Liquidating Trustee are sometimes referred to individually as
a “Party” and collectively as the “Parties.” Capitalized terms used in this Liquidating Trust
Agreement and not otherwise defined shall have the meanings assigned to such terms in the Plan.


                                         R E C I T A L S:

        (A)     On June 14, 2016 (the “Petition Date”), each of the Debtors filed voluntary
petitions with the United States Bankruptcy Court for the Middle District of Florida, Jacksonville
Division (the “Bankruptcy Court”) under Chapter 11 of the Bankruptcy Code. The Cases are
jointly administered under Case No. 3:16-bk-02232-PMG.

       (B)     On May 15, 2019, the Debtors filed their Plan and accompanying disclosure
statement (the “Disclosure Statement”).

        (C)    On [__, 2019], the Bankruptcy Court entered the Confirmation Order [Docket No.
•] confirming the Plan. A copy of the confirmed Plan is attached hereto as Exhibit A.

       (D)     The Plan provides for the creation of a post-confirmation Liquidating Trust to hold
and administer the Liquidating Trust Assets and to distribute the proceeds therefrom to the
Liquidating Trust Beneficiaries (defined below), in accordance with the terms of this Agreement
and the Plan. This Agreement is executed to establish the Liquidating Trust and to facilitate the
Plan.

       (E)     The Liquidating Trust is created on behalf of, and for the benefit of, the Liquidating
Trust Beneficiaries.

       (F)     The respective powers, authority, responsibilities and duties of the Liquidating
Trustee shall be governed by this Agreement, the Plan, the Confirmation Order and other
applicable orders issued by the Bankruptcy Court.

        (G)      This Agreement is intended to supplement, complement and implement the Plan
which is incorporated herein by reference; provided, however, that except as otherwise expressly
stated herein, if any of the terms and/or provisions of this Agreement conflict with the terms and/or
provisions of the Plan, then the Plan shall govern.



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       (H)     The Liquidating Trust is intended to be treated as a “liquidating trust” pursuant to
Treasury Regulation § 301.7701-4(d) and as a “grantor trust” for federal income tax purposes,
pursuant to Section 671 through 679 of the Internal Revenue Code of 1986, as amended (the “IR
Code”).

      NOW, THEREFORE, in consideration of the promises and the mutual covenants and
agreements contained herein and in the Plan, the receipt and sufficiency of which are hereby
acknowledged and confirmed, the Parties hereby agree as follows:

                                      ARTICLE I
                        ESTABLISHMENT OF THE LIQUIDATING TRUST

           1.1      Establishment of Liquidating Trust and Appointment of Liquidating Trustee.

               (a)     This Liquidating Trust, which shall be known as the “Premier Exhibitions
Liquidating Trust,” is hereby established on behalf, and for the benefit, of the Holders of Allowed
Claims of the Debtors (whether such Claims are Allowed as of or subsequent to the Effective Date)
(the “Liquidating Trust Beneficiaries”)

                 (b)    The Liquidating Trustee is hereby appointed as trustee of the Liquidating
Trust effective as of the Effective Date and agrees to accept and hold the Liquidating Trust Assets
in trust for the Liquidating Trust Beneficiaries subject to the terms of the Plan, the Confirmation
Order, and this Agreement. The Liquidating Trustee and each successor Liquidating Trustee
serving from time to time hereunder shall have all the rights, powers, and duties set forth herein.

           1.2      Transfer of Assets and Rights to the Liquidating Trust.

               (a)    As of the Effective Date, and pursuant to and subject in all respects to the
terms of the Plan and Confirmation Order, the Debtors, in their respective capacities as debtors-
in-possession on behalf of the Estates, hereby transfer, assign and deliver to the Liquidating Trust,
on behalf of the Liquidating Trust Beneficiaries, all of their right, title and interest in the
Liquidating Trust Assets, including Causes of Action of such Debtors, other than any waived,
exculpated or released Causes of Action in accordance with the provisions of the Plan,
notwithstanding any prohibition of assignability under applicable non-bankruptcy law. The
Liquidating Trustee agrees to accept and hold the Liquidating Trust Assets for the benefit of the
Liquidating Trust Beneficiaries, subject to the terms of the Plan and this Agreement.

                (b)     All of the proceeds received by the Liquidating Trust from the sale, transfer
or other disposition of the Liquidating Trust Assets (including the prosecution or settlement of any
Cause of Action) shall be added to the Liquidating Trust Assets and held as a part thereof (and title
thereto shall be vested in the Liquidating Trust), and shall be distributed in accordance with Article
7 of the Plan.

           1.3      Funding.

        The Liquidating Trust shall be funded by the Liquidating Trust Assets and any proceeds
thereof.

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           1.4      Title to Assets.

                (a)      Transfer of Title. Notwithstanding any prohibition of assignability under
applicable non-bankruptcy law, on the Effective Date and periodically thereafter if additional
Liquidating Trust Assets become available, the Debtors shall be deemed to have automatically
transferred to the Liquidating Trust all of their right, title, and interest in and to all of the
Liquidating Trust Assets. In accordance with Section 1141 of the Bankruptcy Code, all such assets
shall automatically vest in the Liquidating Trust free and clear of all Claims and Liens, subject
only to the interests of the Liquidating Trust Beneficiaries, the Liquidating Trust Expenses, and
certain Liabilities (as defined below). Thereupon, the Debtors shall not have any interest in or with
respect to the Liquidating Trust Assets or the Liquidating Trust.

               (b)      Transfer Subject to Liabilities. The Liquidating Trust Assets are hereby
transferred subject to the following liabilities, if any, which arise out of or relate to any known or
unknown Claim against the Debtors or their Estates (the “Liabilities”):

                     (i)     Allowed Administrative Claims, Allowed Priority Tax Claims, and
Allowed Priority Claims that have not been paid as of the Effective Date or that are subsequently
Allowed; and

                     (ii)    all U.S. Trustee Fees (for each Debtor) until such time as the
Bankruptcy Court enters a Final Decree or the Chapter 11 Cases are otherwise closed;

                           (iii)   excluding, however, Claims that have been barred by, or satisfied
under, the Plan.

           1.5      Nature and Purpose of the Liquidating Trust.

                (a)    The Liquidating Trust is organized and established as a trust solely to,
subject to the terms and conditions contained herein and in the Plan: (i) administer the Liquidating
Trust Assets and make Distributions in accordance with the Plan and this Agreement; and (ii)
oversee and direct the expeditious but orderly liquidation of the Liquidating Trust Assets. The
Liquidating Trust is intended to qualify as a liquidating trust pursuant to United States Treasury
Regulation section 301.7701-4(d). The primary purpose of the Liquidating Trust is to liquidate the
Liquidating Trust Assets with no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to preserve or enhance the liquidation value of
the Liquidating Trust Assets, and consistent with the liquidating purpose of the Liquidating Trust.

               (b)     This Agreement is intended to create a trust and a trust relationship and to
be governed and construed in all respects as a trust. The Liquidating Trust is not intended to be,
and shall not be deemed to be or treated as, a general partnership, limited partnership, joint
venture, corporation, joint stock company or association, nor shall the Liquidating Trustee, the
Liquidating Trust Oversight Committee (or any of its members), or the Liquidating Trust
Beneficiaries, or any of them, for any purpose be, or be deemed to be or treated in any way
whatsoever to be, liable or responsible hereunder as partners or joint venturers. The relationship
of the Liquidating Trust Beneficiaries (on the one hand) to the Liquidating Trustee and the


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Liquidating Trust Oversight Committee (on the other hand) shall be solely that of beneficiaries
of a trust and shall not be deemed a principal or agency relationship, and their rights shall be
limited to those conferred upon them by this Agreement.

           1.6      Relationship to, and Incorporation of, the Plan and the Confirmation Order.

        This Agreement is to aid in the implementation of the Plan and the Confirmation Order,
and therefore this Agreement incorporates the provisions of the Plan and the Confirmation Order
by this reference. To that end, the Liquidating Trustee shall have full power and authority to take
any action consistent with the purpose and provisions of the Plan and Confirmation Order and to
seek any orders from the Bankruptcy Court in furtherance of implementation of the Plan and
Confirmation Order, in each case solely to the extent such actions or orders are in furtherance of
this Agreement, but in each case subject in all respects to and solely to the extent not inconsistent
with the terms of the Plan and/or Confirmation Order. To the extent that there is a conflict between
the provisions of this Agreement, and the provisions of the Plan, and/or the Confirmation Order,
the terms of the Confirmation Order shall govern the Plan, and the terms of the Plan shall govern
this Agreement.

                                          ARTICLE II
                                 LIQUIDATING TRUST INTERESTS

           2.1      Allocation of Liquidating Trust Interests.

                 (a)    Beneficial Interests. On the Effective Date or as soon as practicable
thereafter, each Holder of an Allowed Claim shall be allocated a Pro Rata Share of beneficial
interests in the Liquidating Trust (the “Beneficial Interests”) on account of such Holder’s Allowed
Claim.

           2.2      Allocation of Beneficial Interests to Holders of Disputed Claims.

        No Beneficial Interest shall be allocated to the Holder of a Disputed Claim unless and until
such Disputed Claim is an Allowed Claim. If a Holder’s Disputed Claim is resolved and becomes
an Allowed Claim, the Holder shall be allocated a Pro Rata Share of Beneficial Interests in
accordance § 2.1(a), above (and receive the same percentage recovery as Holders of Allowed
Claims in the same Class as if the Holder’s Allowed Claim was an Allowed Claim as of the
Effective Date of the Plan); provided, however, that post-Effective Date interest shall not be
allowed.

           2.3      Interests Beneficial Only.

               (a)     The ownership of a Beneficial Interest shall not entitle any Liquidating
Trust Beneficiary to any title in or to the Liquidating Trust Assets (which title shall be vested solely
in the Liquidating Trust) or to any right to call for a partition or division of the Liquidating Trust
Assets or to require an accounting.

              (b)    Notwithstanding the foregoing, the Liquidating Trustee may deem and treat
each Liquidating Trust Beneficiary of record, as determined pursuant to this Agreement, as the

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absolute owner of such Liquidating Trust Beneficiary’s Beneficial Interests for the purpose of
receiving Distributions and payment thereon or on account thereof and for all other purposes
whatsoever; provided, that nothing within this subsection (b) shall supersede or limit § 2.3(a),
above.

           2.4      Evidence of Liquidating Trust Interests; Trust Register.

              (a)     Interests Uncertificated. The Beneficial Interests shall be uncertificated.
The Beneficial Interests shall be represented by appropriate book entries in the Trust Register (as
defined immediately below).

               (b)     Creation of Trust Register. The Liquidating Trustee shall create,
maintain, and make appropriate notations in a registry of the Liquidating Trust Beneficiaries (the
“Trust Register”) and calculate and set forth in the Trust Register the following entries prior to
each Distribution to the Liquidating Trust Beneficiaries:

                           (i)     The Beneficial Interest and Allowed Claim held by each Liquidating
Trust Beneficiary; and

                     (ii)   The Beneficial Interest that otherwise would be attributable to the
Holder of a Disputed Claim were such Disputed Claim to become an Allowed Claim.

                (c)    Location of Trust Register. The Liquidating Trustee shall keep, or cause
to be kept, the Trust Register at the office of the Liquidating Trustee or at such other place as may
be designated by the Liquidating Trustee, with the consent of the Liquidating Trust Oversight
Commission, from time-to-time.

               (d)     Access to Trust Register. Each Liquidating Trust Beneficiary and its duly
authorized representatives shall have the right, upon reasonable prior written notice to the
Liquidating Trustee, and in accordance with the reasonable regulations prescribed by the
Liquidating Trustee, to inspect and, at the sole expense of the Liquidating Trust Beneficiary
seeking the same, make copies of the Trust Register reflecting such Liquidating Trust
Beneficiary’s interest in the Liquidating Trust, in each case for a purpose reasonably related to
such Liquidating Trust Beneficiary’s interest in the Liquidating Trust.

           2.5      Exemption from Registration.

        The Parties hereto intend that the rights of the Liquidating Trust Beneficiaries arising under
this Agreement shall not be “securities” under applicable laws, but none of the Parties hereto
represent or warrant that such rights shall not be securities or shall be entitled to exemption from
registration under applicable securities laws. If such rights constitute securities, the Parties hereto
intend for the exemption from registration provided by Section 1145 of the Bankruptcy Code and
under applicable securities laws to apply to their issuance under the Plan and this Agreement.




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           2.6      Transfer and Exchange.

               (a)     Beneficial Interests are not negotiable and shall not be assignable or
transferable voluntarily. In the case of a deceased individual Liquidating Trust Beneficiary, his or
her executor, administrator, or legal representative shall succeed to such decedent’s interest in the
Liquidating Trust; provided, however, that any such transfer by shall not be effective or binding
upon the Liquidating Trust for any purpose, unless and until (i) notification of such transfer is
provided to the Liquidating Trustee in accordance with § 10.6(a) herein, and (ii) such transfer is
in fact recorded on the Trust Register.

           2.7      Change of Address.

        A Liquidating Trust Beneficiary may, after the Effective Date, select an alternative address
for Distribution or provide wire transfer instructions for any Distribution by providing notice to
the Liquidating Trustee (in accordance with § 10.6(a) herein) including such address or
instructions. Such notification will be effective only upon receipt by the Liquidating Trustee and
notation in the Trust Register. Absent receipt of such notice by the Liquidating Trustee, the
Liquidating Trustee shall not recognize any such change of Distribution address.

           2.8      Tax Identification Numbers.

        The Liquidating Trustee may require any direct payee of Distributions on account of
Beneficial Interests to furnish to the Liquidating Trustee its social security number or employer or
taxpayer identification number as assigned by the Internal Revenue Service and complete any
related documentation (including a Form W-8 or Form W-9), and the Liquidating Trustee may
condition any Distribution to any such payee upon the receipt of such information and the receipt
of such other documents as the Liquidating Trustee reasonably requests.

                                          ARTICLE III
                                   THE LIQUIDATING TRUSTEE

           3.1      Role of the Liquidating Trustee.

        In furtherance of and consistent with the purpose of the Liquidating Trust and the Plan, the
Liquidating Trustee, subject to the terms and conditions contained herein, in the Plan and in the
Confirmation Order, shall (a) hold the Liquidating Trust Assets for the benefit of the Liquidating
Trust Beneficiaries, and (b) make Distributions of Liquidating Trust Assets in accordance with the
Plan and this Agreement. Subject to the provisions of this Agreement, the Liquidating Trustee, in
consultation with and subject to the management and direction of the Liquidating Trust Oversight
Committee, shall be responsible for all decisions and duties with respect to the Liquidating Trust
and the Liquidating Trust Assets. In all circumstances, the Liquidating Trustee shall act in the best
interests of the Liquidating Trust and in furtherance of the purpose of the Liquidating Trust.

           3.2      Responsibilities and Authority of the Liquidating Trustee.

               (a)    Responsibilities. In connection with the administration of the Liquidating
Trust, in addition to any and all of the powers enumerated elsewhere herein, the Liquidating

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Trustee is authorized to perform any and all acts necessary and desirable to accomplish the
purposes of this Liquidating Trust Agreement and the provisions of the Plan solely relating to the
Liquidating Trust, within the bounds of the Plan and applicable law (and, for the avoidance of
doubt, subject to Liquidating Trust Oversight Committee consultation and/or approval to the extent
required herein). The Liquidating Trustee, upon direction of the Liquidating Trust Oversight
Committee, to the extent required, shall:

                      (i)     in an expeditious but orderly manner, liquidate and convert to Cash
the Liquidating Trust Assets;

                       (ii)    make timely Distributions to Holders of Beneficial Interests;

                     (iii)   establish and maintain the Disputed Claims Reserve, the Liquidating
Trust Expense Reserve, and the Administrative and Priority Claims Reserve;

                     (iv)   audit and analyze all Claims not paid in full on the Effective Date or
otherwise Allowed by the Bankruptcy Court;

                     (v)      prosecute objections to, settle, or otherwise resolve such Claims if
necessary and appropriate in accordance with the Plan and this Agreement;

                       (vi)    file appropriate tax returns with respect to the Liquidating Trust; and

                       (vii) take all actions as are necessary and reasonable to carry out the
purposes of the Liquidating trust under the Plan and this Agreement and not unduly prolong the
duration of the Liquidating Trust.

                 (b)    Specific Provisions with Respect to Causes of Action. The Liquidating
Trustee (subject to the prior approval of the Liquidating Trust Oversight Committee to the extent
required herein) shall have the right to pursue, not pursue, release, abandon, and/or settle any and
all Causes of Action (including any counterclaims asserted against the Liquidating Trust) as the
Liquidating Trustee determines is in the best interests of the Liquidating Trust. To the extent that
any action has been taken to prosecute or otherwise resolve any Cause of Action prior to the
Effective Date, on the Effective Date the Liquidating Trustee shall be substituted for the Debtors
in connection therewith in accordance with Rule 25 of the Federal Rules of Civil Procedure, made
applicable by Rule 7025 of the Federal Rules of Bankruptcy Procedure, and the caption with
respect to such pending action shall be changed to the following: “Mark Healy of Michael Moecker
& Associates, Inc., as Liquidating Trustee for the Premier Exhibitions Liquidating Trust v.
[Defendant(s)].” Without limiting the generality of the foregoing, the Liquidating Trustee shall
specifically be substituted in as plaintiff in the Adversary Proceeding, and the caption with respect
to the Adversary Proceeding shall be changed to the following: Mark Healy of Michael Moecker
& Associates, Inc., as Liquidating Trustee for the Premier Exhibitions Liquidating Trust v. Mark
Sellers [et al.]”

               (c)      Additional Powers. Subject to any limitations contained herein or in the
Plan, the Liquidating Trustee (on behalf of the Liquidating Trust as the Liquidating Trustee, but
not individually) shall have the power to:

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                       (i)    hold legal title to any and all rights of or arising from the
Liquidating Trust Assets, including collecting and receiving any and all money and other
property belonging to the Liquidating Trust and, subject to the approval of the Liquidating Trust
Oversight Committee, the right to vote any claim or interest relating to the Liquidating Trust
Assets in a case under the Bankruptcy Code and receive any distribution with respect thereto;

                      (ii)   receive and take such action as may be necessary to take
possession, custody or control of all Liquidating Trust Assets to be distributed pursuant to the
Plan;

                       (iii)  oversee, administer, maintain, and wind-down any 401(k) plans
and other employee or retiree benefit plans of the Debtors to the extent any such plans remain in
place or claims thereunder remain unsatisfied following the Effective Date and are transferred to
the Liquidating Trust;

                     (iv)   in consultation with and subject to the approval of the Liquidating
Trust Oversight Committee, protect and enforce the rights to the Liquidating Trust Assets by any
method deemed appropriate, including by judicial proceedings or pursuant to any applicable
bankruptcy, insolvency, moratorium or similar law and general principles of equity;

                        (v)    in consultation with and subject to the approval of the Liquidating
Trust Oversight Committee, obtain reasonable insurance coverage with respect to the liabilities
and obligations of the Liquidating Trustee and the Liquidating Trust Oversight Committee under
this Liquidating Trust Agreement (in the form of fiduciary liability insurance, a directors and
officers policy, an errors and omissions policy, or otherwise);

                         (viii) employ various professionals, including counsel, tax advisors,
consultants, and financial advisors, as the Liquidating Trustee deems necessary to aid it in
fulfilling its obligations under this Liquidating Trust Agreement and the Plan (such Persons, the
“Trustee Professionals”), and on whatever fee arrangement the Liquidating Trustee deems
appropriate, including contingency fee arrangements (any such fees, “Trustee Professional
Fees”);

                       (ix)    upon the consent of the Liquidating Trust Oversight Committee,
the Liquidating Trustee may invest the proceeds of the Liquidating Trust Assets (and all income
earned by the Liquidating Trust pending periodic Distributions in accordance with the
provisions of the Plan) in short term certificates of deposit, in banks or other savings institutions,
or other temporary, liquid investments, such as Treasury bills; provided, however, that such
actions are consistent with the Liquidating Trust’s status as a liquidating trust within the
meaning of United States Treasury Regulation section 301.77014(d) and; provided further that
such actions are consistent with § 6.2.14(d) of the Plan;

                       (x)    request any appropriate tax determination with respect to the
Liquidating Trust, including a determination pursuant to section 505 of the Bankruptcy Code;



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                       (xi)   subject to applicable securities laws, if any, establish and maintain
a website, to the extent the Liquidating Trustee deems necessary, for the purpose of providing
notice of Liquidating Trust activities in lieu of sending written notice to Liquidating Trust
Beneficiaries, subject to providing notice of the establishment of such website to such
Liquidating Trust Beneficiaries;

                       (xii) take or refrain from taking any and all actions the Liquidating
Trustee reasonably deems necessary for the continuation, protection, and maximization of the
value of the Liquidating Trust Assets consistent with the purposes hereof, take all steps and
execute all instruments and documents necessary to effectuate the Liquidating Trust, and take all
actions necessary to comply with the Confirmation Order, the Plan, and this Agreement and the
obligations thereunder and hereunder, in each case subject to Liquidating Trust Oversight
Committee consultation and/or approval to the extent required herein;

                        (xiii) upon the consent of the Liquidating Trust Oversight Committee,
as applicable, liquidate any remaining Liquidating Trust Assets, and provide for the Distributions
therefrom in accordance with the provisions of the Plan and this Agreement;

                       (xiv) upon the consent of the Liquidating Trust Oversight Committee,
exercise such other powers and authority as may be necessary and proper to carry out the
provisions of the Plan relating to the Liquidating Trust;

                        (xv) with the advice of the Liquidating Trust Oversight Committee,
evaluate and determine strategy with respect to the Liquidating Trust Assets, and hold, pursue,
prosecute, adjust, arbitrate, compromise, release, settle or abandon the Liquidating Trust Assets
on behalf of the Liquidating Trust and the Liquidating Trust Beneficiaries;

                      (xvi) in the event that the Liquidating Trustee determines that the
Liquidating Trust Beneficiaries or the Liquidating Trust may, will or have become subject to
adverse tax consequences, take such actions that will, or are intended to, alleviate such adverse
tax consequences; and

                       (xvii) assume such other powers as may be vested in or assumed by the
Liquidating Trustee pursuant to the Plan or Bankruptcy Court order, or as may be necessary and
proper to carry out the provisions of the Plan or this Agreement.

                (d)     Necessary Reports. The Liquidating Trustee shall file all required Post-
Confirmation operating reports through the date the Chapter 11 Cases are closed (or a Final Decree
is entered), or such other and further reports, statements or disclosures relating to the Liquidating
Trust that are necessary or appropriate or as may be reasonably requested by the Liquidating Trust
Oversight Committee.

                         (i)     Without limiting the generality of the foregoing, the Liquidating
Trustee shall provide quarterly reports to the Liquidating Trust Beneficiaries with respect to the
(a) the sale, transfer or other disposition of the Liquidating Trust Assets (including any Causes of
Action), and (b) expenditures, receipts, and Distributions of the Liquidating Trust.

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                        (ii)   In addition, the Liquidating Trustee shall File or cause to be Filed
with the Bankruptcy Court quarterly reports setting forth: (a) the compensation paid to the
Liquidating Trustee; (b) the fees and expenses reimbursed or paid to the Liquidating Trustee; (c)
the fees paid to Trustee Professionals and LTOC Professionals (defined below); (d) the number
and amount of Distributions; (e) the amount of Disputed Claims and Undeliverable Distributions,
if any; (f) the total amount or estimated value of the Liquidating Trust Assets remaining; (g) the
proceeds of the Adversary Proceeding or any other lawsuit seeking the recovery of assets
commenced by the Liquidating Trustee; and (h) all fees and expenses paid in connection therewith.

                (e)     Objections to Claims. On and after the Effective Date, the Liquidating
Trustee shall have the exclusive right to make, file and prosecute objections to Claims (whether
Scheduled or Filed). All such objections shall be filed within one hundred eighty (180) days after
the Confirmation Date (the “Claims Objection Deadline”); provided, however, the Liquidating
Trustee may seek extensions of the Claims Objection Deadline following Designated Notice prior
to the expiration of the Claims Objection Deadline period, as provided for in § 14.1 of the Plan.

               (f)    Authority to Act. Unless specifically stated otherwise in this Agreement,
the Plan, or the Confirmation Order, the Liquidating Trustee shall not be required to obtain
Bankruptcy Court approval with respect to any proposed action or inaction (i) authorized in this
Agreement or (ii) specifically contemplated in the Plan.

               (g)     Dissolution of the Debtors. In accordance with the Plan and the
Confirmation Order, upon the last to occur of (i) the Effective Date (ii) the execution of this
Agreement and (iii) the transfer of the Liquidating Trust Assets into the Liquidating Trust, the
Liquidating Trustee shall file or cause to be filed such necessary articles or certificates of
dissolution, as the case may be, with the secretary of state or designated office of the state of
formation, incorporation or organization (as applicable) of each Debtor, to affirmatively and
permanently dissolve, cancel, liquidate, and destroy the corporate legal existence of each
applicable Debtor.

                (h)    Other Activities. The Liquidating Trustee shall be entitled to be employed
by third parties while performing the duties required under the Plan and this Agreement, so long
as such other employment does not involve holding or representing any interest adverse to the
interests of the Liquidating Trust, or otherwise preclude or impair the Liquidating Trustee from
performing his or her duties under the Plan and this Agreement.

           3.3      Limitation on the Liquidating Trustee’s Authority.

               (a)     Notwithstanding anything herein to the contrary, the Liquidating Trust and
the Liquidating Trustee shall not (i) be authorized to engage in any trade or business (for or on
behalf of the Liquidating Trust), (ii) take any actions inconsistent with the orderly liquidation of
the Liquidating Trust Assets as are required or contemplated by applicable law, the Confirmation
Order, the Plan, and this Agreement, (iii) be authorized to engage in any investments or activities
inconsistent with the treatment of the Liquidating Trust as a liquidating trust within the meaning
of United States Treasury Regulation section 301.7701-4(d), (iv) perform any environmental
remediation or restoration activities, (v) own any real property, (vi) take any action in

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contravention of this Liquidating Trust Agreement, or (v) take any action that would jeopardize
treatment of the Liquidating Trust as a grantor trust for U.S. federal income tax purposes under
sections 671-677 of the IR Code, or any successor provisions thereof.

                (b)    The Liquidating Trustee, acting on behalf of the Liquidating Trust, shall
agree to comply with, and shall not take any actions inconsistent with or seek to modify or seek
relief from, any provision of the Plan or the Confirmation Order.

           3.4      Liquidating Trust Expenses.

                (a)     The Liquidating Trustee may incur any reasonable and necessary
Liquidating Trust Expenses in pursuing the Liquidating Trust Assets, administering the
Liquidating Trust, managing the Liquidating Trust Assets, and making Distributions on account
of Beneficial Interests. Subject to the following limitation, all Liquidating Trust Expenses shall be
paid by, and solely be the obligation of, the Liquidating Trust.

               (b)     First Quarter Liquidating Trust Budget. On or before the Effective
Date, the Liquidating Trustee shall prepare a reasonably detailed budget for the first quarter of the
Liquidating Trust (such budget, the “First Quarter Liquidating Trust Budget”) with respect to
the Liquidating Trust Expenses expected to be incurred by the Liquidating Trust and the
Liquidating Trustee (including the expenses of Trustee Professionals) in furtherance of the limited
purpose of the Liquidating Trust and shall submit such First Quarter Liquidating Trust Budget to
the Liquidating Trust Oversight Committee. Within ten (10) Business Days after receipt of the
First Quarter Liquidating Trust Budget, the Liquidating Trust Oversight Committee shall either (i)
approve the First Quarter Liquidating Trust Budget, (ii) approve the First Quarter Liquidating
Trust Budget with modifications, or (iii) deny the First Quarter Liquidating Trust Budget, and shall
provide written notice of such decision to the Liquidating Trustee.

                     (i)    If the First Quarter Liquidating Trust Budget is approved (or if the
Liquidating Trustee accepts the modifications to the First Quarter Liquidating Trust Budget
proposed by the Liquidating Trust Oversight Committee), the Liquidating Trustee shall, as soon
as reasonably practicable thereafter, fund the Liquidating Trust Expense Reserve with the
approved amount of the First Quarter Liquidating Trust Budget, using the Liquidating Trust
Assets.

                      (ii)   If the First Quarter Liquidating Trust Budget is denied (or if the
Liquidating Trustee does not accept the modifications to the First Quarter Liquidating Trust
Budget proposed by the Liquidating Trust Oversight Committee), the Liquidating Trustee may
seek approval of the First Quarter Liquidating Trust Budget from the Bankruptcy Court, whose
decision as to the amount of the First Quarter Liquidating Trust Budget shall be final and non-
appealable by any Party herein. Upon receipt of the Bankruptcy Court’s decision with respect to
the approved amount of the First Quarter Liquidating Trust Budget, the Liquidating Trustee shall
fund the Liquidating Trust Expense Reserve with the approved amount of the First Quarter
Liquidating Trust Budget, using the Liquidating Trust Assets.




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                (c)    No later than ten (10) Business Days prior to the expiration of the First
Quarter Liquidating Trust Budget, the Liquidating Trustee shall prepare and submit to the
Liquidating Trust Oversight Committee a reasonably detailed budget for the following quarter of
the Liquidating Trust, which process shall repeat until the termination of the Liquidating Trust in
accordance with Article VII of this Agreement (each such successive quarterly budget, a
“Successive Quarterly Budget” and, together with the First Quarter Liquidating Trust Budget,
the “Liquidating Trust Budget”). Each Successive Quarterly Budget shall be governed in all
respects by the foregoing subsection (b) (and its subsections) to the same extent as if “First Quarter
Budget” were replaced with “Successive Quarterly Budget.”

               (d)     With the exception of (i) the out-of-pocket expenses incurred by the
Liquidating Trust Oversight Committee and (ii) LTOC Professional Fees (defined below), any and
all Liquidating Trust Expenses shall be paid only out of the Liquidating Trust Expense Reserve.
If excess funds remain in the Liquidating Trust Expense Reserve immediately prior to the
termination of the Liquidating Trust, in accordance with Article VII of this Agreement, the
Liquidating Trustee shall affect a Distribution of the excess funds in the Liquidating Trust Expense
Reserve to the Liquidating Trust Beneficiaries in the order, amount, and priority set forth in Article
7 of the Plan.

           3.5      Tenure, Removal, and Replacement of the Liquidating Trustee.
                (a)    The Liquidating Trustee will serve until resignation and the appointment
of a successor pursuant to subsection (b) below, removal pursuant to subsection (c) below,
Disability (as defined below), or death (if applicable).

               (b)     The Liquidating Trustee may resign by giving not less than sixty (60)
days’ prior written notice to the Liquidating Trust Oversight Committee. Such resignation will
become effective on the later to occur of (i) the day specified in such notice, and (ii) the
appointment of a successor Liquidating Trustee as provided herein and the acceptance by such
successor Liquidating Trustee of such appointment.

              (c)     The Liquidating Trust Oversight Committee may petition the Bankruptcy
Court to remove for Cause the Liquidating Trustee or any successor Liquidating Trustee
appointed pursuant to the Plan and this Agreement.

                (d)    In the event that the Liquidating Trustee is removed, resigns, or otherwise
ceases to serve as Liquidating Trustee, the Liquidating Trust Oversight Committee shall appoint,
in writing, a successor Liquidating Trustee, and shall File with the Bankruptcy Court a notice of
the appointment of the successor Liquidating Trustee.

               (e)     Immediately upon the appointment of any successor Liquidating Trustee,
all rights, powers, duties, authority, and privileges of the predecessor Liquidating Trustee
hereunder will be vested in and undertaken by the successor Liquidating Trustee without any
further act; and the successor Liquidating Trustee will not be liable personally for any act or
omission of the predecessor Liquidating Trustee. Any successor Liquidating Trustee appointed
hereunder shall execute an instrument accepting such appointment and assuming all of the

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obligations of the predecessor Liquidating Trustee hereunder, and such successor shall be subject
to the same qualifications and shall have the same rights, powers, duties, and discretion, and
otherwise be in the same position, as the originally named Liquidating Trustee. References herein
to the Liquidating Trustee shall be deemed to refer to any successor Liquidating Trustee acting
hereunder.

               (e)     Upon the appointment of a successor Liquidating Trustee, the predecessor
Liquidating Trustee (or the duly appointed legal representative of a deceased Liquidating Trustee
or a Liquidating Trustee suffering a Disability) shall, if applicable, when requested in writing by
the successor Liquidating Trustee, execute and deliver an instrument or instruments conveying
and transferring to such successor Liquidating Trustee, without recourse to the predecessor
Liquidating Trustee, all the estates, properties, rights, powers and trusts of such predecessor
Liquidating Trustee (solely as each relates to this Agreement and the Liquidating Trust), and
shall duly assign, transfer, and deliver to such successor Liquidating Trustee all property and
money held hereunder, and all other assets and documents relating to the Liquidating Trust, the
Liquidating Trust Assets, or the Liquidating Trust Beneficiaries then in such predecessor
Liquidating Trustee’s possession and held hereunder.

               (f)     In the event there is a vacancy in the position of Liquidating Trustee, the
Liquidating Trust Oversight Committee shall appoint one of its members to serve as interim
Liquidating Trustee (the “Interim Trustee”). The Interim Trustee shall be subject to all the
terms and conditions applicable to a Liquidating Trustee hereunder; provided, however, that the
Interim Trustee shall not serve indefinitely and shall be replaced by a duly appointed successor
Liquidating Trustee; provided further, that such Interim Trustee shall not exercise any rights or
powers as a member of the Liquidating Trust Oversight Committee during such Person’s tenure
as Interim Trustee.

               (g)     The Liquidating Trustee shall, during the period that the Liquidating
Trustee serves as Liquidating Trustee under this Liquidating Trust Agreement and following the
termination of this Liquidating Trust Agreement or following its removal or resignation
hereunder, hold strictly confidential and not use for personal gain any material, non-public
information of or pertaining to any entity to which any of the Liquidating Trust Assets relates or
of which the Liquidating Trustee has become aware in the Liquidating Trustee’s capacity as
Liquidating Trustee, except as otherwise required by law.

                (h)    “Disability” of the Liquidating Trustee or a member of the Liquidating
Trust Oversight Commission shall have occurred if, as a result of such Person’s incapacity due
to physical or mental illness as determined by a physician selected by the Liquidating Trustee or
the member of the Liquidating Trust Oversight Committee, as applicable, and reasonably
acceptable to the Liquidating Trust Oversight Committee, the Liquidating Trustee or the member
of the Liquidating Trust Oversight Committee shall have been substantially unable to perform
his or her duties hereunder for three (3) consecutive months or for an aggregate of 180 days
during any period of twelve (12) consecutive months.




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           3.6      Books and Records.

        The Liquidating Trustee shall maintain in respect of the Liquidating Trust and the
Liquidating Trust Beneficiaries good and sufficient books and records relating to the Liquidating
Trust Assets and income of the Liquidating Trust and the payment of, expenses of, liabilities of,
and claims against or assumed by, the Liquidating Trust in such detail and for such period of time
as may be necessary to enable it to make full and proper accounting in respect thereof. Such books
and records shall be maintained as reasonably necessary to facilitate compliance with the tax
reporting requirements of the Liquidating Trust. Nothing in this Agreement requires the
Liquidating Trustee to file any accounting or seek approval of any court with respect to the
administration of the Liquidating Trust, or as a condition for managing any payment or distribution
out of the Liquidating Trust Assets. The books and records of the Liquidating Trust shall be
available for inspection by any member of the Liquidating Oversight Committee upon reasonable
notice. Subject to all applicable privileges, the Liquidating Trust Beneficiaries shall have the right,
upon twenty (20) days’ prior written notice to the Liquidating Trustee, to request a reasonable
inspection of the books and records held by the Liquidating Trustee; provided, all costs associated
with such inspection shall be paid in advance by such requesting Liquidating Trust Beneficiary;
provided further, if so requested, such Liquidating Trust Beneficiary shall have entered into a
confidentiality agreement satisfactory in form and substance to the Liquidating Trustee, and make
such other arrangements as may be reasonably requested by the Liquidating Trustee.

           3.7      Inquiries into the Liquidating Trustee’s Authority.

        Except as otherwise set forth in this Liquidating Trust Agreement or in the Plan, no Person
dealing with the Liquidating Trust shall be obligated to inquire into the authority of the Liquidating
Trustee in connection with the protection, conservation or disposition of the Liquidating Trust
Assets.

           3.8      Compliance with Laws.

               (a)      The Liquidating Trustee shall ensure that any and all Distributions of
Liquidating Trust Assets shall be in compliance with applicable laws, including applicable federal
and state securities laws.

               (b)     If the Liquidating Trustee determines, with the advice of counsel, that the
Liquidating Trust is required to comply with registration and reporting requirements of the
Securities Exchange Act of 1934, as amended (the “Exchange Act”), the Trust Indenture Act of
1939, or the Investment Company Act of 1940, then the Liquidating Trustee shall, after
consultation with the Liquidating Trust Oversight Committee, take commercially reasonable
efforts to comply with such registration and reporting requirements, if any, and file periodic reports
with the U.S. Securities and Exchange Commission to the extent required by law.

           3.9      Liquidating Trustee Compensation and Reimbursement.

              (a)     The Liquidating Trustee shall receive compensation and reimbursement
from the Liquidating Trust (but solely through the Liquidating Trust Expense Reserve) as follows:


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                      (i)     The Liquidating Trustee shall receive compensation on terms
consistent with (and in no event exceeding) those set forth in the Consent Motion for an Order
Appointing a Responsible Person as Substitute Plaintiff in the Adversary Proceeding against
certain of the Debtors’ Current and Former Directors and Officers [D.E. 1296-2] (refiled in the
Adversary Proceeding). Specifically, the Liquidating Trustee’s compensation shall be set at no
more than $300/hour, and the other Professionals at Michael Moecker & Associates assisting the
Liquidating Trustee shall receive their standard hourly rates.

                (b)     In addition, the Liquidating Trust will reimburse the Liquidating Trustee
(but solely out of the Liquidating Trust Expense Reserve) for all reasonable and documented out-
of-pocket expenses incurred by the Liquidating Trustee in connection with the performance of the
Liquidating Trustee’s duties hereunder and under the Plan.

                (c)    The fees and expenses payable to the Liquidating Trustee shall be paid to
the Liquidating Trustee upon approval of such fees by the Liquidating Trust Oversight Committee
without necessity for review or approval by the Bankruptcy Court or any other Person. All such
compensation and reimbursement shall be paid solely from the Liquidating Trust Expense Reserve,
in accordance with the applicable Liquidating Trust Budget. The Bankruptcy Court shall retain
jurisdiction to adjudicate any dispute between the Liquidating Trustee and the Liquidating Trust
Oversight Committee regarding the fees, compensation, and expenses of the Liquidating Trustee.

           3.10   Reliance by the Liquidating Trustee.

                  (a)    Except as otherwise provided herein:

                       (i)     The Liquidating Trustee may rely, and shall be protected in acting
upon, any resolution, certificate, statement, instrument, opinion, report, notice, request, consent,
order, or other paper or document believed by the Liquidating Trustee to be genuine and to have
been signed or presented by the proper party or parties.

                        (ii)   Persons dealing with the Liquidating Trustee shall look only to the
Liquidating Trust Assets to satisfy any liability incurred by the Liquidating Trustee to such Person
in carrying out the terms of this Agreement, and neither the Liquidating Trustee nor any member
of the Liquidating Trust Oversight Committee shall have any personal obligation to satisfy any
such liability, except to the extent that actions taken or not taken after the Effective Date by the
Liquidating Trustee (or the Liquidating Trust Oversight Committee, as applicable) are determined
by Final Order to be solely due to the Liquidating Trustee’s (or the Liquidating Trust Oversight
Committee’s) own willful misconduct, fraud, or gross negligence.

           3.11   No Bond.

        The Liquidating Trustee shall not be obligated to post a bond but may do so, in his or her
sole discretion.




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           3.12     Standard of Care; Exculpation.

               (a)      Fiduciary Duty. Pursuant to the Plan and this Agreement, the Liquidating
Trustee will act as a fiduciary on behalf of the Liquidating Trustee Beneficiaries.

                    (b)    Exculpatory Provisions.

                         (i)     None of the Liquidating Trustee, the Liquidating Trust Oversight
Committee, the members thereof, the Trustee Professionals, or LTOC Professionals (defined
below) shall be liable for any damages arising out of the creation, operation or termination of the
Liquidating Trust, including actions taken or omitted in fulfillment of his or her duties with respect
to the Liquidating Trust except in the case of such party’s gross negligence, bad faith, willful
misconduct, or fraud. In performing its duties under this Agreement, the Liquidating Trustee or
the members of the Liquidating Trust Oversight Committee (as applicable) shall have no liability
for any action taken in accordance with the advice of counsel, accountants, appraisers and other
professionals retained by the Liquidating Trust Oversight Committee or the Liquidating Trust.
Without limiting the generality of the foregoing, the Liquidating Trustee and the members of the
Liquidating Trust Oversight Committee may rely without independent investigation on copies of
orders of the Bankruptcy Court reasonably believed by the Liquidating Trustee or the members of
the Liquidating Trust Oversight Committee (as applicable) to be genuine, and shall have no
liability for actions taken in reliance thereon. Each of the Liquidating Trustee and the members of
the Liquidating Trust Oversight Committee may rely without inquiry upon writings delivered to it
under the Plan which the Liquidating Trustee or the members of the Liquidating Trust Oversight
Committee (as applicable) reasonably believes to be genuine and to have been given by a proper
Person. Notwithstanding the foregoing, nothing in this § 3.12(b)(i) shall relieve the Liquidating
Trustee or the members of the Liquidating Trust Oversight Committee from any liability for any
actions or omissions arising out of their gross negligence, willful misconduct, or fraud. Any action
taken or omitted to be taken in the case of the Liquidating Trustee or the members of the
Liquidating Trust Oversight Committee with the express approval of the Bankruptcy Court will
conclusively be deemed not to constitute gross negligence or willful misconduct.

                         (ii)    The Liquidating Trustee and the Liquidating Trust Oversight
Committee, and their respective officers, directors, partners, members, managers and employees,
shall be indemnified to the fullest extent permitted by law by the Liquidating Trust against all
liabilities arising out of the creation, operation or termination of the Liquidating Trust, including
actions taken or omitted in fulfillment of their duties with respect to the Liquidating Trust, except
for those acts that are determined by Final Order to have arisen out of their own willful misconduct,
gross negligence, bad faith, or fraud.

                                        ARTICLE IV
                          LIQUIDATING TRUST OVERSIGHT COMMITTEE

           4.1      Constitution and Appointment.

       The Liquidating Trust Oversight Committee shall have three (3) members, each of whom
must be the Holder of an Unsecured Claim at the time of appointment and throughout tenure as a


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member of the Liquidating Trust Oversight Committee. The Liquidating Trust Oversight
Committee is hereby established as of the Effective Date pursuant to § 6.3 of the Plan to advise,
assist, supervise and direct the Liquidating Trustee in the administration of the Liquidating Trust
pursuant to this Agreement. The initial members of the Liquidating Trust Oversight Committee
shall be B.E. Capital Management Fund LP, Dalian Hoffen Biotechnique Co., Ltd, and 417 Fifth
Avenue LLC.

           4.2      Fiduciary Duties.

        The fiduciary duties that applied to the Creditors’ Committee prior to the Effective Date
shall apply to the Liquidating Trust Oversight Committee, as limited by the exculpations,
indemnifications, releases and other protections provided in the Plan, this Agreement, and the
Confirmation Order. The duties, rights and powers of the Liquidating Trust Oversight Committee
shall terminate upon the dissolution of the Liquidating Trust pursuant to the Plan and this
Agreement.

           4.3      Authority of the Liquidating Trust Oversight Committee Generally.

                (a)    The Liquidating Trust Oversight Committee shall have (i) the authority and
responsibility to advise, assist, supervise, and direct the Liquidating Trustee in the administration
of the Liquidating Trust (ii) such other rights to operate and manage the Liquidating Trust as are
not inconsistent with the Confirmation Order, the Plan and the terms of this Agreement and (iii)
have the authority to remove the Liquidating Trustee in accordance with § 4.5(b) herein. The
Liquidating Trustee shall consult with and provide information to the Liquidating Trust Oversight
Committee in accordance with and pursuant to the terms of this Agreement and the Plan.

               (b)    No other Liquidating Trust Beneficiary shall have any approval rights
whatsoever in respect of management and operation of the Liquidating Trust.

       4.4     Engagement of Professionals and Advisors. The Liquidating Trust Oversight
Committee shall have the authority to select and engage such professionals or advisors as the
Liquidating Trust Oversight Committee deems necessary and desirable to assist the Liquidating
Trust Oversight Committee in fulfilling its obligations under this Agreement and the Plan (such
Persons, the “LTOC Professionals”).

           4.5      Specific Rights and Powers of the Liquidating Trust Oversight Committee.

                (a)    Ratification by Majority Vote. Unless otherwise stated herein, whenever
the approval or consent of the Liquidating Trust Oversight Committee is required, such approval
or consent may be indicated by a majority vote of the Liquidating Trust Oversight Committee.
Without limiting the generality of the foregoing, the Liquidating Trustee must obtain the approval
(by majority vote) of the Liquidating Trust Oversight Committee before acting or failing to act on
any of the following:

                           (i)    the determination not to object to a Claim having a stated amount in
excess of $250,000;


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                      (ii)   the settlement of (a) any Cause of Action in which the amount
sought to be recovered exceeds $250,000 or (b) any Disputed Claim having a stated amount in
excess of $250,000 and to approve any release or indemnification to be given by the Liquidating
Trustee in connection with any such settlement;

                           (iii)   any sale of any Liquidating Trust Assets for a price in excess of
$250,000;

                      (iv)    the investment of Cash or other Liquidating Trust Assets, except for
investments in demand and time deposits, such as certificates of deposit, having maturities of less
than one year and in U.S. Treasury bills;

                      (v)     the waiver of the attorney-client privilege by the Liquidating Trustee
with respect to any Cause of Action or other litigation related matter; and

                     (vi)   the election to treat any portion of the Liquidating Trust as a
“disputed ownership fund” pursuant to § 1.468B-9(c)(2)(ii) of the Treasury Regulations.

               (b)     Unanimous Decisions. The Liquidating Trust Oversight Committee shall
also have the absolute right and power to determine the following by the unanimous vote of all the
members of the Liquidating Trust Oversight Committee:

                           (i)     to change the initial bond to be posted by the Liquidating Trustee;
and

                        (ii)   to petition the Bankruptcy Court to remove the Liquidating Trustee
for Cause, or to select a successor Liquidating Trustee when a successor is required.

If the Liquidating Trust Oversight Committee is unable to reach a unanimous decision with respect
to subsection (i) or (ii), above, and such deadlock shall continue for a period of one (1) week, any
member of the Liquidating Trust Oversight Committee shall have the right to petition the
Bankruptcy Court for appropriate relief.

           4.6      Regular Meetings of the Liquidating Trust Oversight Committee.

        Meetings of the Liquidating Trust Oversight Committee are to be held with such frequency
and at such place as the Liquidating Trustee and the members of the Liquidating Trust Oversight
Committee may determine in their reasonable discretion, but in no event shall such meetings be
held less frequently than quarterly.

           4.7      Special Meetings of the Liquidating Trust Oversight Committee.

      Special meetings of the Liquidating Trust Oversight Committee may be held whenever and
wherever called for by the Liquidating Trustee or any member of the Liquidating Trust Oversight
Committee, subject to reasonable notice.




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           4.8      Voting.

                 (a)     A majority of the total number of members of the Liquidating Trust
Oversight Committee then in office shall constitute a quorum for the transaction of business at any
meeting of the Liquidating Trust Oversight Committee. The affirmative vote of a majority of the
members of the Liquidating Trust Oversight Committee present and entitled to vote at a meeting
at which a quorum is present shall be the act of the Liquidating Trust Oversight Committee except
as otherwise required by law or as provided in this Agreement (specifically including § 4.5(b)
hereof) or the Plan. Any or all of the members of the Liquidating Trust Oversight Committee may
participate in a regular or special meeting by, or conduct the meeting through the use of, conference
telephone or similar communications equipment by means of which all Persons participating in
the meeting may hear each other, in which case any required notice of such meeting may generally
describe the arrangements (rather than or in addition to the place) for the holding thereof. Any
member of the Liquidating Trust Oversight Committee participating in a meeting by this means is
deemed to be present in person at the meeting. Voting (including on negative notice) may, if
approved by the majority of the members at a meeting, be conducted by electronic mail or
individual communications by the Liquidating Trustee and each member of the Liquidating Trust
Oversight Committee.

                (b)     Any member of the Liquidating Trust Oversight Committee who is present
and entitled to vote at a meeting of the Liquidating Trust Oversight Committee when action is
taken is deemed to have assented to the action taken, subject to the requisite vote of the Liquidating
Trust Oversight Committee, unless: (i) such member of the Liquidating Oversight Trust
Committee objects at the beginning of the meeting (or promptly upon his or her arrival) to holding
it or transacting business at the meeting; (ii) his or her dissent or abstention from the action taken
is entered in the minutes of the meeting; or (iii) he or she delivers written notice (including by
electronic or facsimile transmission) of his or her dissent or abstention to the Liquidating Trust
Oversight Committee before its adjournment. The right of dissent or abstention is not available to
any member of the Liquidating Trust Oversight Committee who votes in favor of the action taken.

                 (c)    Prior to the taking of a vote on any matter or issue or the taking of any action
with respect to any matter or issue, each member of the Liquidating Trust Oversight Committee
shall report to the Liquidating Trust Oversight Committee any conflict of interest such member
has or may have with respect to the matter or issue at hand and fully disclose the nature of such
conflict or potential conflict (including disclosing any and all financial or other pecuniary interests
that such member might have with respect to or in connection with such matter or issue, other than
solely as a Liquidating Trust Beneficiary). A member who has or who may have a conflict of
interest shall be deemed to be a “conflicted member” who shall not be entitled to vote with respect
to such matter or issue (however, such member shall be counted for purposes of determining the
existence of a quorum and may engage in the Liquidating Trust Oversight Committee’s discussions
on such matter or issue); the vote or action with respect to such matter or issue shall be undertaken
only by members of the Liquidating Trust Oversight Committee who are not “conflicted
members.” Notwithstanding anything to the contrary set forth herein, no member of the
Liquidating Trust Oversight Committee shall be deemed to be a “conflicted member” solely as a
result of (i) such member’s affiliation with a Person that is a Liquidating Trust Beneficiary, or (ii)


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such member’s affiliation with any Person that is, or is adverse to, a defendant in any of the Causes
of Action or in any other action or proceeding.

           4.9      Manner of Acting.

       Any action required or permitted to be taken by the Liquidating Trust Oversight Committee
at a meeting may be taken without a meeting if the action is taken by unanimous written consent
of the Liquidating Trust Oversight Committee as evidenced by one or more written consents
describing the action taken, signed by all members of the Liquidating Trust Oversight Committee
and recorded in the minutes or other transcript of proceedings of the Liquidating Trust Oversight
Committee.

       4.10 Tenure, Removal, and Replacement of the Members of the Liquidating Trust
Oversight Committee.

        The authority of the members of the Liquidating Trust Oversight Committee will be
effective as of the Effective Date and will remain and continue in full force and effect until the
Liquidating Trust is terminated in accordance with Article VII herein. The service of the members
of the Liquidating Trust Oversight Committee will be subject to the following:

                (a)    The members of the Liquidating Trust Oversight Committee will serve
until Disability, death, resignation pursuant to subsection (b) below, or removal pursuant to
subsection (c) below;

                (b)  A member of the Liquidating Trust Oversight Committee may resign at
any time by providing a written notice of resignation to the remaining members of the
Liquidating Trust Oversight Committee. Such resignation will be effective upon the date
received by the Liquidating Trust Oversight Committee or such later date specified in the
written notice;

               (c)      A member of the Liquidating Trust Oversight Committee may be removed
by the majority vote of the other members of the Liquidating Trust Oversight Committee, a written
resolution of which shall be delivered to the removed Liquidating Trust Oversight Committee
member; provided, however, that such removal may only be made for Cause;

              (d)    In the event of a vacancy on the Liquidating Trust Oversight Committee
(whether by removal, Disability, death or resignation), a new member shall be appointed to fill
such position by majority vote of the Liquidating Trust Oversight Committee; provided,
however, that the Liquidating Trust Oversight Committee shall function with reduced
membership until such vacancy is filled;

               (e)     Immediately upon the appointment of any successor member of the
Liquidating Trust Oversight Committee, all rights, powers, duties, authority, and privileges of
the predecessor member of the Liquidating Trust Oversight Committee hereunder will be vested
in and undertaken by the successor member of the Liquidating Trust Oversight Committee
without any further act; and the successor member of the Liquidating Trust Oversight Committee


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will not be liable personally for any act or omission of the predecessor member of the Liquidating
Trust Oversight Committee; and

              (f)     Every successor member of the Liquidating Trust Oversight Committee
appointed hereunder shall execute, acknowledge and deliver to the Liquidating Trustee and other
members of the Liquidating Trust Oversight Committee an instrument accepting the appointment
under this Liquidating Trust Agreement and agreeing to be bound thereto, and thereupon the
successor member of the Liquidating Trust Oversight Committee without any further act, deed,
or conveyance, shall become vested with all rights, powers, trusts, and duties of the retiring
member.


     4.11           Compensation and Reimbursement of Expenses of the Liquidating Trust Oversight
Committee.

             (a)     No Compensation. The members of the Liquidating Trust Oversight
Committee shall serve without compensation.

               (b)     Reimbursement. The Liquidating Trust will reimburse, as a Liquidating
Trust Expense, the members of the Liquidating Trust Oversight Committee for all reasonable and
documented out-of-pocket expenses incurred by such members in connection with the
performance of their respective services hereunder, without duplication, upon demand for payment
thereof. Additionally, the Liquidating Trust shall pay, as a Liquidating Trust Expense, the
reasonable and documented fees of the LTOC Professionals (including on an hourly, contingency,
or modified contingency basis) and reimburse such LTOC Professionals for their reasonable and
documented out-of-pocket costs and expenses consistent with the terms of this Agreement (such
fees and expenses, the “LTOC Professional Fees”); provided, however, that the LTOC
Professional Fees shall be subject to the Liquidating Trustee’s review and objection, in accordance
with Article V of this Agreement.

                                       ARTICLE V
                        PROVISIONS REGARDING PROFESSIONAL FEES

           5.1      Fee Statements.

        On and after the Effective Date, Trustee Professionals and LTOC Professionals shall be
required to submit reasonably detailed invoices on a monthly basis (or on such other periodic basis
as is agreed between the relevant parties) to the Liquidating Trustee or Liquidating Trust Oversight
Committee, as applicable, including in such invoices a description of the work performed, who
performed such work, and if billing on an hourly basis, the hourly rate of each such person, plus
an itemized statement of expenses.

           5.2      Delivery of Fee Statements.

               (a)    Trustee Professional Fees. Within five (5) Business Days after receipt of
an invoice, fee statement, or demand for payment for Trustee Professional Fees, the Liquidating


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Trustee shall transmit to the Liquidating Trust Oversight Committee such invoice, fee statement,
or demand for payment.

               (b)    LTOC Professional Fees. Within five (5) Business Days after receipt of
an invoice, fee statement, or demand for payment for LTOC Professional Fees, the Liquidating
Trust Oversight Committee shall transmit to the Liquidating Trustee such invoice, fee statement,
or demand for payment.

           5.3      Right to Object; Limitations.

               (a)    Liquidating Trustee Objection. Following receipt of an invoice, fee
statement, or demand for payment of LTOC Professional Fees in accordance with § 5.2(b), the
Liquidating Trustee shall have ten (10) days to object to the LTOC Professional Fees.

                (b)    Liquidating Trust Oversight Committee Objection. Following receipt
of an invoice, fee statement, or demand for payment of Trustee Professional Fees in accordance
with § 5.2(a), the Liquidating Trust Oversight Committee shall have ten (10) days to object to the
Trustee Professional Fees.

                (c)    To be valid, any such objection under the immediately preceding
subsections (a) or (b) must be in writing and set forth in detail the specific fees objected to and the
basis for the objection. Further, the objection must be lodged by giving notice of the objection to
the LTOC Professional and/or Trustee Professional seeking reimbursement.

                (d)    Any objection under this § 5.2 that remains unresolved fifteen (15) days
after it is made may be submitted to the Bankruptcy Court for resolution; provided, however, that
the uncontested portion of each invoice shall be paid no later than twenty (20) days after its
delivery to the Liquidating Trust Oversight Committee and/or the Liquidating Trustee, as
applicable.

           5.4      Fees as Liquidating Trust Expenses.

       Both Trustee Professional Fees and LTOC Professional Fees shall be Liquidating Trust
Expenses and duly payable as such; provided, however, that Trustee Professional Fees shall only
be paid out of the Liquidating Trust Expense Reserve.

                                             ARTICLE VI
                                            TAX MATTERS

           6.1      Treatment of Liquidating Trust Assets Transfer.

       All parties shall treat, for U.S. federal income tax purposes, the transfer of each of the
Liquidating Trust Assets to the Liquidating Trust, including any amounts or other assets
subsequently transferred to the Liquidating Trust (but only at such time as actually transferred), as
a deemed transfer of the Liquidating Trust Assets to the Liquidating Trust Beneficiaries, followed
by a deemed transfer of such Liquidating Trust Assets by the Liquidating Trust Beneficiaries to
the Liquidating Trust.

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           6.2      Income Tax Status.

                (a)     For U.S. federal income tax purposes (and for tax purposes of all state, local
and other jurisdictions to the extent applicable), the Liquidating Trust shall be treated as a grantor
trust pursuant to IR Code sections 671-677, or any successor provisions thereof. To the extent not
otherwise inconsistent with this Agreement, this Agreement shall be construed so as to satisfy the
requirements for liquidating trust status. For all purposes of this Agreement, (i) the Liquidating
Trust Beneficiaries will be treated as the grantors, deemed owners and beneficiaries of the
Liquidating Trust, and (ii) any items of income, gain, loss, deduction and credit of the Liquidating
Trust shall be allocated for U.S. federal income tax purposes to the Liquidating Trust Beneficiaries.
The Liquidating Trust shall at all times be administered so as to constitute a domestic trust for U.S.
federal income tax purposes.

                (b)     In the event that the Liquidating Trust shall fail or cease to qualify as a
liquidating trust in accordance with Treasury Regulations Section 301.7701-4(d), the Liquidating
Trustee shall take such action as he or she shall deem appropriate to have the Liquidating Trust
classified as a partnership for federal tax purposes under Treasury Regulations Section 301.7701-
3 (but not a publicly traded partnership within the meaning of Section 7704 of the IR Code),
including, if necessary, creating or converting it into a limited partnership or limited liability
company that is so classified. For federal income tax purposes, the Liquidating Trust Beneficiaries
will be treated as the grantors and owners of the Liquidating Trust and, therefore, will be
responsible for the payment of tax on their respective allocable share of the taxable income of the
Liquidating Trust.

           6.3      Treatment of Disputed Claims Reserve.

         To the extent the Liquidating Trustee, with the consent of the Liquidating Trust Oversight
Committee, elects to treat the Disputed Claims Reserve as a “disputed ownership fund” governed
by Treas. Reg. section 1.468B-9 by timely making an election thereto, the Liquidating Trustee shall:
(a) file such tax returns and pay such taxes as may be required consistent with such treatment, and
(b) to the extent permitted by applicable law, report consistently with the foregoing for state and
local income tax purposes. In the event of such election, to the extent the Disputed Claims Reserve
contains insufficient Cash to pay the portion of any such taxes attributable to the taxable income
arising from the assets allocable to, or retained on account of, the Disputed Claims Reserve, such
taxes shall be (i) reimbursed from any subsequent Cash amounts retained on account of Disputed
Claims, or (ii) to the extent such Disputed Claims have subsequently been resolved, deducted from
any amounts distributable by the Liquidating Trustee as a result of the resolutions of such Disputed
Claims.

           6.4      Valuation of the Liquidating Trust Assets as of the Effective Date.

       Promptly after the Effective Date, the Liquidating Trustee (to the extent the Liquidating
Trustee deems it necessary or appropriate after consultation with the Liquidating Trust Oversight
Committee) shall determine the final fair market value as of the Effective Date of all Liquidating
Trust Assets transferred to the Liquidating Trust, based on the good faith determination of the
value of such Liquidating Trust Assets; provided that such valuation can be based on reasonable

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estimates of the Liquidating Trustee and the Liquidating Trustee does not need to obtain formal
appraisals of any Liquidating Trust Assets. The Liquidating Trustee shall provide notice of such
valuation to each Liquidating Trust Beneficiary. The Liquidating Trust Beneficiaries, the
Liquidating Trust and the Liquidating Trustee will each be required to use such final valuation
consistently and solely for all U.S. federal income tax purposes, including for determining tax
basis and gain or loss. For the avoidance of doubt, the final valuation shall not be binding on the
Liquidating Trust Beneficiaries, the Liquidating Trust or the Liquidating Trustee for any purpose
other than U.S. federal income tax purposes, and the valuation shall not impair or prejudice any
rights, claims, powers, duties, authority, and privileges of the Liquidating Trust Beneficiaries, the
Liquidating Trust or the Liquidating Trustee except with respect to U.S. federal income tax
purposes. The Liquidating Trustee also shall file (or cause to be filed) any other statements, returns
or disclosure relating to the Liquidating Trust that are required by any governmental unit.

           6.5      Tax Returns and Allocations.

                (a)      The Liquidating Trustee shall file U.S. federal income tax returns for the
Liquidating Trust as a grantor trust in accordance with United States Treasury Regulation section
1.671-4 and report, but not pay tax on, the Liquidating Trust’s tax items of income, gain, loss,
deduction and credit (“LT Tax Items”). The Liquidating Trust Beneficiaries shall report such LT
Tax Items on their U.S. federal income tax returns and pay any resulting U.S. federal income tax
liability. In addition, the Liquidating Trust shall file in a timely manner such other tax returns,
including any state and local tax returns, as are required by applicable law and pay any taxes shown
as due thereon. Within a reasonable time following the end of the taxable year, the Liquidating
Trust shall send to each Liquidating Trust Beneficiary a separate statement setting forth the
Liquidating Trust Beneficiary’s share of LT Tax Items and will instruct each such Liquidating
Trust Beneficiary to report such items on its applicable income tax return. The Liquidating Trust
may provide each Liquidating Trust Beneficiary with a copy of the Form 1041 for the Liquidating
Trust (without attaching any other Liquidating Trust Beneficiary’s Schedule K-1 or other
applicable information form) along with such Liquidating Trust Beneficiary’s Schedule K-1 or
other applicable information form in order to satisfy the foregoing requirement.

        (b)    Allocations of Liquidating Trust taxable income shall be determined by reference
to the manner in which an amount of Cash equal to such taxable income would be distributed
(without regard to any restriction on Distributions described herein) if, immediately prior to such
deemed Distribution, the Liquidating Trust had distributed all of its other assets (valued for this
purpose at their tax book value) to Liquidating Trust Beneficiaries, adjusted for prior taxable
income and loss and taking into account all prior and concurrent Distributions from the Liquidating
Trust. Similarly, taxable losses of the Liquidating Trust will be allocated by reference to the
manner in which an economic loss would be borne immediately after a liquidating Distribution of
the remaining Liquidating Trust Assets. The tax book value of the Liquidating Trust Assets for
this purpose shall equal their fair market value on the Effective Date or, if later, the date such assets
were acquired by the Liquidating Trust, adjusted in either case in accordance with tax accounting
principles prescribed by the IR Code, the Treasury Regulations and other applicable administrative
and judicial authorities and pronouncements.



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           6.6      Expedited Determination of Taxes.

        The Liquidating Trustee may request an expedited determination of taxes of the
Liquidating Trust under applicable law for all returns filed for, or on behalf of, the Liquidating
Trust for all taxable periods through the dissolution of the Liquidating Trust.

           6.7      Withholding of Taxes; Liquidating Trust Taxes.

               (a)    The Liquidating Trust shall comply with all withholding and reporting
requirements imposed by any federal, state, local or foreign taxing authority, and all Distributions
made by the Liquidating Trust to the Liquidating Trust Beneficiaries shall be subject to any such
withholding and reporting requirements. Liquidating Trust Beneficiaries will be required to
provide to the Liquidating Trustee any information necessary to affect the withholding of such
taxes. Without limiting the generality of the foregoing, the Liquidating Trustee may require any
Person receiving a Distribution hereunder to furnish to the Liquidating Trustee in writing an
employer identification number or taxpayer identification number as assigned by the Internal
Revenue Service, and the Liquidating Trustee may condition any Distribution to any Person
hereunder on receipt of such identification number.

                (b)     Notwithstanding the foregoing, each Liquidating Trust Beneficiary that is
to receive a Distribution hereunder will have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by any governmental unit on account of
such Distribution, including, without limitation, withholding tax obligations in respect of in-kind
(non-cash) Distributions. Any party issuing an instrument or making an in-kind (non-cash)
Distribution under the Plan has the right, but not the obligation, to refrain from making such
Distribution until the Person to which the Distribution is to be made has made arrangements
satisfactory to such issuing or disbursing party for payment of any such tax obligation.

              (c)     To the extent that the operation of the Liquidating Trust or the liquidation
of the Liquidating Trust Assets creates a tax liability imposed on the Liquidating Trust, the
Liquidating Trust shall timely pay such tax liability and any such payment shall be considered a
Liquidating Trust Expense.

                                       ARTICLE VII
                            DISTRIBUTIONS AND CLAIMS RESERVES

           7.1      No Separate Distribution Agent.

       The Liquidating Trustee shall act as the agent for making distributions to the Liquidating
Trust Beneficiaries under the Plan and this Agreement.

           7.2      Distributions under the Plan.

       The Liquidating Trustee shall make interim and final Distributions from the Liquidating
Trust Assets (including Net Distributable Assets) in accordance with Article 7 of the Plan. The
Liquidating Trustee may withhold amounts otherwise distributable to any Person that the


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Liquidating Trustee determines, in his or her reasonable sole discretion, are required to be withheld
by any law, regulation, rule, ruling, directive, or other governmental requirement.

           7.3      Timing of Distributions.

        Distributions to Liquidating Trust Beneficiaries shall be made as and when provided in the
Plan; provided, however, that the Liquidating Trustee shall remit payment to all Professionals on
account of any unpaid Professional Compensation Claims in the amounts set forth in any Final
Order allowing such Professional Compensation Claims and no later than ten (10) business days
following the entry of any such Final Order.

           7.4      Disputed Claims Reserve.

         The Liquidating Trustee shall establish a Disputed Claims Reserve, which shall be for the
payment of any Disputed Claim if and to the extent such Disputed Claim becomes an Allowed
Claim. The amount set aside in the Disputed Claims Reserve for any such Disputed Claim shall be
the amount that would be distributed on account of such Claim if it were an Allowed Claim in the
lower of: (a) (i) the amount set forth in the Proof of Claim Filed by the Holder of such Claim, or
(ii) if no Proof of Claim has been Filed, the Scheduled amount set forth for such Claim if it is
shown on the Schedules as being noncontingent, liquidated, and undisputed; and (b) the estimated
amount of such Claim for Distribution purposes, as determined by the Bankruptcy Court pursuant
to § 8.6 of the Plan.

           7.5      Administrative and Priority Claims Reserve.

        The Liquidating Trustee shall establish an Administrative and Priority Claims Reserve.
The Administrative and Priority Claims Reserve shall be for the payment of all Administrative
Expense Claims, Priority Claims, and Priority Tax Claims that are Allowed but unpaid, regardless
of whether such Claim is Allowed (but unpaid) before, on, or after the Effective Date. The amount
of the Administrative and Priority Claims Reserve shall be based on the Liquidating Trustee’s
good faith estimate of the amount necessary to pay all present and anticipated Allowed
Administrative Expense Claims, Priority Claims, and Priority Tax Claims against the Debtors.
Notwithstanding anything to the contrary in the foregoing, funding for all Administrative Expense
Claims, Priority Claims, and Priority Tax Claims that are Disputed shall be allocated pursuant to
§ 7.4.2 of the Plan.

           7.6      U.S. Trustee Fees.

       The Liquidating Trustee shall timely pay all U.S. Trustee Fees (for each Debtor’s Estate)
as and when due until entry of a Final Decree (or the Chapter 11 Cases are otherwise closed). U.S.
Trustee Fees shall be payable from the Liquidating Trust Assets.

           7.7      Delivery of Liquidating Trust Distributions.

        All Distributions under this Agreement to any Liquidating Trust Beneficiary shall be made
to the most current of the following: (i) at the address set forth on any Proof of Claim or Interest;
(ii) any address Filed by a Liquidating Trust Beneficiary and served on the Liquidating Trustee;

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(iii) at the address reflected in the Schedules if no Proof of Claim has been Filed and/or no address
has been Filed and served on the Liquidating Trustee; and (iv) the last known address of such
Liquidating Trust Beneficiary if none of (i) – (iii) apply.

           7.8      Undeliverable Distributions.

        If any Distribution or other payment due to a Liquidating Trust Beneficiary is
returned for lack of a current address or otherwise (as such, an “Undeliverable Distribution”),
the Liquidating Trustee shall file with the Bankruptcy Court the name, if known, and last
known address of the Liquidating Trust Beneficiary and the reason for its inability to make
payment. In the event of an Undeliverable Distribution, no further Distribution to such
Liquidating Trust Beneficiary shall be made until and unless the Liquidating Trustee has
determined the then current address of such Liquidating Trust Beneficiary, at which time such
Distribution shall be made to the Liquidating Trust Beneficiary without interest; provided,
however, that such Undeliverable Distributions shall be deemed unclaimed property under
Section 347(b) of the Bankruptcy Code at the expiration of 90 days from the applicable date of
attempted Distribution. After such date, all unclaimed property or interests in property shall revert
to the Liquidating Trust (notwithstanding any applicable federal or state escheat, abandonment, or
unclaimed property laws to the contrary) and become a Liquidating Trust Asset; and the Claim or
Interest of any Liquidating Trust Beneficiary to such property or interest in property shall be
released, settled, compromised, and forever barred.

           7.9      General Distribution Provisions.

               (a)     Disputed Payments. If any dispute arises as to the identity of a Liquidating
Trust Beneficiary that is to receive any Distribution, the Liquidating Trustee may, in lieu of making
such Distribution to such Liquidating Trust Beneficiary, make such Distribution into an escrow
account or otherwise hold such Distribution until the disposition thereof is determined by the
Bankruptcy Court or by written agreement by and among the interested parties to such dispute.

                (b)    Record Date for Distributions. All Distributions made by the Liquidating
Trustee shall be payable by the Liquidating Trustee directly to the Liquidating Trust Beneficiaries
of record (and at the addresses provided) as of the twentieth (20th) day prior to the date scheduled
for Distribution.

               (c)    Fractional Distributions. Notwithstanding any other provision herein to
the contrary, payments of fractions of dollars by the Liquidating Trustee shall not be required.
Whenever any Distribution of a fraction of a dollar would be required, the Distribution will instead
be rounded to the nearest whole dollar (either up or down), with half dollars being rounded down.

                                      ARTICLE VIII
                            TERMINATION OF LIQUIDATING TRUST

           8.1      Duration and Extension.

                (a)     The Liquidating Trust shall be dissolved as soon as practicable after the date
that is the earlier to occur of: (i) the distribution of all Liquidating Trust Assets available for

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Distribution pursuant to the Plan, or (ii) the determination of the Liquidating Trust Oversight
Committee that the administration of the Liquidating Trust Assets is not likely to yield additional
Distributions; provided, however, that in no event shall the Liquidating Trust be dissolved later
than three (3) years from the Effective Date, unless the Bankruptcy Court, upon motion within the
six (6) months prior to the third (3rd) anniversary of the Effective Date (or within six (6) months
prior to the end of an extension period), determines that a fixed-period extension is necessary to
facilitate or complete the recovery and liquidation of the Liquidating Trust Assets.

              (b)     Upon dissolution of the Liquidating Trust, any remaining Cash on hand and
other Liquidating Trust Assets will be distributed to the Liquidating Trust Beneficiaries in
accordance with the Plan and this Agreement.

                (c)     If for any reason the Liquidating Trust shall terminate and be deemed
wound up prior to the sale, transfer or other disposition of the Liquidating Trust Assets and entry
of a final, non-appealable order resolving all Causes of Action, and receipt by the Liquidating
Trust of all amounts to which the Liquidating Trust may be entitled, notwithstanding anything to
the contrary set forth herein, the Distribution of any proceeds recovered at any time thereafter shall
be made in accordance with the priorities set forth in the Plan.

           8.2      Diligent Administration.

        The Liquidating Trustee shall (a) not unduly prolong the duration of the Liquidating Trust;
(b) at all times endeavor to resolve, settle or otherwise dispose of all Causes of Action that
constitute Liquidating Trust Assets; and (c) cause the liquidation and Distribution of the
Liquidating Trust Assets to the Liquidating Trust Beneficiaries in accordance with the terms of the
Plan and this Agreement.

                                          ARTICLE IX
                                     AMENDMENT AND WAIVER

        Any substantive provision of this Agreement may be materially amended or waived only
by order of the Bankruptcy Court if necessary to implement the Plan; provided, however, that no
change may be made to this Agreement that would adversely affect the federal income tax status
of the Liquidating Trust as a “grantor trust.” Technical or non-material amendments to or waivers
of portions of this Agreement may be made as necessary to clarify this Agreement or to enable the
Liquidating Trust to effectuate the terms of this Agreement, with the consent of the Liquidating
Trustee.

                                          ARTICLE X
                                   MISCELLANEOUS PROVISIONS

           10.1     Intention of Parties to Establish Grantor Trust.

                This Agreement is intended to create a grantor trust for United States federal
income tax purposes and, to the extent provided by law, shall be governed and construed in all
respects as a grantor trust.


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           10.2   Preservation of Privilege.

               In connection with the vesting and transfer of the Liquidating Trust Assets,
including all Causes of Action, any attorney-client privilege, work-product protection, or other
privilege or immunity attaching or relating to any documents or communications (of any kind,
whether written or oral, electronic or otherwise) held by the Debtors shall be transferred to the
Liquidating Trust and shall vest in the Liquidating Trust. The Debtors and the Liquidating Trustee
shall take all necessary actions to protect the transfer of such privileges, protections and
immunities.

           10.3   Confidentiality.

                The Liquidating Trustee and Liquidating Oversight Committee (and the members
thereof) and each of his, her, or their respective employees, members, agents, professionals and
advisors, including the Trustee Professionals and the LTOC Professionals, (each a “Confidential
Party” and collectively the “Confidential Parties”) shall hold strictly confidential and not use for
personal gain any material, non-public information of which they have become aware in their
capacity as a Confidential Party, of or pertaining to any Entity to which any of the Liquidating
Trust Assets relates; provided, however, that such information may be disclosed if (a) it is now or
in the future becomes generally available to the public other than as a result of a disclosure by the
Confidential Parties, or (b) such disclosure is required of the Confidential Parties pursuant to legal
process, including, but not limited to, subpoena or other court order or other applicable laws or
regulations. In the event that any Confidential Party is requested to divulge confidential
information pursuant to clause (b) above, such Confidential Party shall promptly, in advance of
making such disclosure, provide reasonable notice of such required disclosure to the Liquidating
Trustee and the Liquidating Trust Oversight Committee to allow them sufficient time to object to
or prevent such disclosure through judicial or other means and shall cooperate reasonably with the
Liquidating Trustee and/or the Liquidating Trust Oversight Committee in making any such
objection, including but not limited to appearing in any judicial or administrative proceeding in
support of any objection to such disclosure.

           10.4   Laws as to Construction.

                This Agreement shall be governed by and construed in accordance with the laws of
the State of Florida, without giving effect to rules governing the conflict of law.

           10.5   Severability.

                Except with respect to provisions herein that are contained in the Plan, if any
provision of this Agreement or the application thereof to any Person or circumstance shall be
finally determined by a court of competent jurisdiction to be invalid or unenforceable to any extent,
the remainder of this Agreement, or the application of such provision to Persons or circumstances
other than those as to which it is held invalid or unenforceable, shall not be affected thereby, and
shall be valid and enforceable to the fullest extent permitted by law.




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           10.6   Notice.

                (a)     To the Liquidating Trustee and Liquidating Trust Oversight
Committee. Any notice or other communication hereunder shall be in writing and shall be deemed
to have been sufficiently given, for all purposes, on the third (3rd) Business Day after such notice
is delivered by (i) facsimile (at the number set forth below with proof of confirmation), (ii)
overnight delivery, (iii) electronic mail, or (iv) certified mail, with return receipt requested at the
address as set forth below, or such other addresses as may be filed with the Bankruptcy Court:

As to the Liquidating Trustee:

Michael Moecker & Associates, Inc., Attention: Mark C. Healy, 841 Prudential Drive, 12th
Floor, Jacksonville, FL 32207, Tel: (904) 210-7023, with a copy to: [•].

As to the Liquidating Trust Oversight Committee: to the last known address(es) and facsimile
number(s) provided by each member of the Liquidating Trust Oversight Committee to the
Liquidating Trustee.

                 (b)    To a Liquidating Trust Beneficiary. Any notice or other communication
hereunder shall be in writing and shall be deemed to have been sufficiently given, for all purposes,
on the fifth (5th) Business Day after deposited, first class postage prepaid, in a post office or letter
box addressed to the person for whom such notice is intended to the name and address as
determined in accordance with the Trust Register; provided that general notices to all Liquidating
Trust Beneficiaries may be made by posting such notice to a website identified in advance for
communication with Liquidating Trust Beneficiaries.

           10.7   Survivability.

        Notwithstanding any provision of the Plan to the contrary, the terms and provisions of this
Agreement shall remain fully binding and enforceable notwithstanding any vacancy in the position
of the Liquidating Trustee.

           10.8   Headings.

       The section headings contained in this Agreement are solely for the convenience of
reference and shall not affect the meaning or interpretation of this Agreement or of any term or
provision hereof.

           10.9   Counterparts.

      This Agreement may be executed in any number of counterparts, each of which shall be
deemed to be an original instrument, but all together shall constitute one agreement.

           10.10 Entire Agreement.

        This Agreement (including the Recitals), the Confirmation Order, and the Plan constitute
the entire agreement by and among the Parties hereto and there are no representations, warranties,

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covenants or obligations except as set forth herein or therein. This Agreement, the Plan, and the
Confirmation Order supersede all prior and contemporaneous agreements, understandings,
negotiations, discussions, written or oral, of the Parties hereto, relating to any transaction
contemplated hereunder. Except as otherwise specifically provided herein, in the Plan or in the
Confirmation Order, nothing in this Agreement is intended or shall be construed to confer upon or
to give any Person other than the Parties hereto and their respective heirs, administrators,
executors, successors, or assigns any right to remedies under or by reason of this Agreement.

           10.11 Rules of Interpretation.

        For purposes of this Agreement, unless otherwise provided herein: (a) whenever from the
context it is appropriate, each term, whether stated in the singular or the plural, will include both
the singular and the plural; (b) the words “herein,” “hereof,” “hereto,” “hereunder” and other words
of similar import refer to this Agreement as a whole and not to any particular section, subsection
or clause contained in this Agreement; (c) the rules of construction set forth in section 102 of the
Bankruptcy Code will apply; and (d) the term “including” shall be construed to mean “including,
but not limited to,” “including, without limitation,” or words of similar import.

                                       [Signatures on following pages]




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        IN WITNESS WHEREOF, the Parties hereto have either executed and acknowledged this
Agreement, or caused it to be executed and acknowledged on their behalf by their duly authorized
officers all as of the date first above written.

                                            PREMIER EXHIBITIONS, INC.

                                            By:
                                            Name:
                                            Title:

                                            PREMIER MERCHANDISING, LLC

                                            By:
                                            Name:
                                            Title:

                                            PREMIER EXHIBITION MANAGEMENT LLC

                                            By:
                                            Name:
                                            Title:

                                         ARTS AND EXHIBITIONS INTERNATIONAL LLC

                                            By:
                                            Name:
                                            Title:

                                            PREMIER EXHIBITIONS NYC, INC.

                                            By:
                                            Name:
                                            Title:


                                            PREMIER EXHIBITIONS INTERNATIONAL,
                                            LLC

                                            By:
                                            Name:
                                            Title:

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                                      DINOSAURS UNEARTHED CORP.

                                      By:
                                      Name:
                                      Title:




                                      MICHAEL MOECKER & ASSOCIATES, INC.
                                      AS LIQUIDATING TRUSTEE

                                      By: ________________________________
                                      Name: Mark C. Healy




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